          Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 1 of 55



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

                                                §
STUDENTS FOR JUSTICE IN                         §
PALESTINE AT THE UNIVERSITY OF                  §
HOUSTON, et al.,                                §
                                                §
        Plaintiffs,                             §
                                                §
v.                                              §                  No. 1:24-CV-523-RP
                                                §
GREG ABBOTT, in his official capacity only as   §
the Governor of the State of Texas, et al.,     §
                                                §
        Defendants.

                                  DEFENDANTS’ RESPONSE TO
                      PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


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                    Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 2 of 55



                                                                     TABLE OF CONTENTS
TABLE OF AUTHORITIES .................................................................................................................................................. iii
FACTUAL BACKGROUND .................................................................................................................................................. 3
    I.         Pro-Palestinian Campus Protests Erupt across the Country. ....................................................................... 4
    II.        NSJP Circulates “Escalation” Tactics for Students to Maximize Campus Disruption. ........................... 7
    III.       Governor Abbott Signs Executive Order GA-44. ....................................................................................... 10
    IV.        Students at Texas Public Universities Join NSJP’s Campaign to Seize Universities and “Disrupt their
               Daily Functions.” ............................................................................................................................................... 11
          A.          The University of Texas at Austin. ......................................................................................................... 12
          B.          The University of Texas at San Antonio. ............................................................................................... 15
          C.          The University of Texas at Dallas. .......................................................................................................... 18
          D.          The University of Houston. ..................................................................................................................... 20
    V.         Universities Across the Country Suspend SJP Chapters and Bring in Law Enforcement to End
               Encampments. .................................................................................................................................................... 21
    VI.        The University Defendants Revise their Campus Policies. ......................................................................... 23
          A.          The University of Texas System. ............................................................................................................. 23
          B.          The University of Houston System. ........................................................................................................ 25
    VII. Plaintiffs’ Request for Injunctive Relief. ........................................................................................................ 25
STANDARD OF REVIEW ................................................................................................................................................... 28
ARGUMENT ........................................................................................................................................................................ 29
    I.         Plaintiffs are Unlikely to Succeed Because Their Claims are Nonjusticiable. .......................................... 30
    II.        Plaintiffs Did Not Assert a Viable First Amendment Challenge. .............................................................. 31
          A.          Plaintiffs’ Ignore the Constitutional-Avoidance Canon in Interpreting GA-44. ............................. 32
          B.          Plaintiffs’ As-Applied and Facial Challenges to GA-44 Lack Merit. ................................................. 33
               1.     Plaintiffs Cannot Succeed on their As-Applied Challenge. ................................................................. 34
               2.     A Facial Challenge is a High Bar; Plaintiffs do not Meet it Here....................................................... 41
    III.       The Other Preliminary Injunction Factors Favor Denying the Motion. .................................................. 46
    IV.        The Court Should Not Enjoin Enforcement of Constitutional Applications of GA-44....................... 47
CONCLUSION ..................................................................................................................................................................... 48
CERTIFICATE OF SERVICE .............................................................................................................................................. 49




                                                                                         ii
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 3 of 55



                                                          TABLE OF AUTHORITIES

Federal Decisions

A.M. ex rel. McAllum v. Cash,
  585 F.3d 214 (5th Cir. 2009) ............................................................................................................... 38, 39
Alaska Airlines, Inc. v. Brock,
  480 U.S. 678 (1987) .....................................................................................................................................47
Ayotte v. Planned Parenthood of Northern New England,
  546 U.S. 320 (2006) .....................................................................................................................................47
Bailey v. Iles,
  87 F.4th 275 (5th Cir. 2023) .......................................................................................................................42
Bell v. Itawamba Cnty. Sch. Bd.,
  799 F.3d 379 (5th Cir. 2015) .................................................................................................. 38, 40, 41, 43
Blackwell v. Issaquena Cnty. Bd. of Ed.,
  363 F.2d 749 (5th Cir. 1966) ............................................................................................................... 38, 43
Brinsdon v. McAllen Indep. Sch. Dist.,
  863 F.3d 338 (5th Cir. 2017) ......................................................................................................................43
C.R. v. Eugene Sch. Dist. 4J,
  835 F.3d 1142 (9th Cir. 2016) ....................................................................................................................43
Canady v. Bossier Par. Sch. Bd.,
  240 F.3d 437 (5th Cir. 2001) ......................................................................................................................37
Clark v. Community for Creative Non-Violence,
  468 U.S. 288 (1984) .............................................................................................................................. 31, 32
Clarke v. Commodity Futures Trading Comm’n,
  74 F.4th 627 (5th Cir. 2023) .......................................................................................................................29
Ctr. for Individual Freedom v. Carmouche,
  449 F.3d 655 (5th Cir. 2006) ............................................................................................................... 30, 36
Dahnke-Walker Milling Co. v. Bondurant,
  257 U.S. 282 (1921) .....................................................................................................................................47
DeJohn v. Temple Univ.,
  537 F.3d 301 (3d Cir. 2008)........................................................................................................................44
Doe v. Valencia Coll.,
  903 F.3d 1220 (11th Cir. 2018) ..................................................................................................................43
Eccles v. Peoples Bank,
  333 U.S. 426 (1948) .....................................................................................................................................28
El Paso Cnty., Tex. v. Trump,
  982 F.3d 332 (5th Cir. 2020) ......................................................................................................................31
Elrod v. Burns,
  427 U.S. 347 (1976) .......................................................................................................................... 3, 29, 46
Embarcadero Tech., Inc. v. Redgate Software, Inc.,
  No. 1:17-cv-444-RP, 2017 WL 5588190 (W.D. Tex. Nov. 20, 2017) ..................................................29
Esfeller v. O'Keefe,
  391 F.App’x. 337 (5th Cir. 2010) ...............................................................................................................37
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  835 F.2d 554 (5th Cir. 1987) ......................................................................................................................27
Fennell v. Marion Indep. Sch. Dist.,
  804 F.3d 398 (5th Cir. 2015) ......................................................................................................................44

                                                                             iii
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 4 of 55



Frankel v. Regents of the Univ. of Cal.,
   No. 2:24-cv-04702-MCS-PD, 2024 WL 3811250 (C.D. Cal. Aug. 13, 2024) ....................................... 7
Hafer v. Melo,
   502 U.S. 21 (1991) .......................................................................................................................................35
Harper v. Poway Unified Sch. Dist.,
   445 F.3d 1166 (9th Cir. 2006) ....................................................................................................................43
Havens Realty Corp. v. Coleman,
   455 U.S. 363 (1982) .....................................................................................................................................31
Healy v. James,
   408 U.S. 169 (1972) .............................................................................................................................. 32, 40
Hishon v. King & Spalding,
   467 U.S. 69 (1984) .......................................................................................................................................46
Ingebretsen ex rel. Ingebretsen v. Jackson Pub. Sch. Dist.,
   88 F.3d 274 (5th Cir. 1996) ........................................................................................................................29
Jenkins v. Louisiana State Bd. of Ed.,
   506 F.2d 992 (5th Cir. 1975) ......................................................................................................................40
Jennings v. Rodriguez,
   583 U.S. 281 (2018) .....................................................................................................................................32
Johnson v. Rodriguez,
   110 F.3d 299 (5th Cir. 1997) ......................................................................................................................35
Kentucky v. Graham,
   473 U.S. 159 (1985) .....................................................................................................................................35
Kestenbaum et al. v. Presidents and Fellows of Harvard College,
   No. 1:24-cv-10092-RGS, 2024 WL 3658793 (D. Mass. Aug. 6, 2024) .................................................. 7
Kuhlmeier v. Hazelwood Sch. Dist.,
   795 F.2d 1368 (8th Cir. 1986) ............................................................................................................. 43, 44
L.M. v. Town of Middleborough, Massachusetts,
   103 F.4th 854 (1st Cir. 2024)......................................................................................................................43
Leal v. Becerra,
   No. 21-10302, 2022 WL 2981427 (5th Cir. July 27, 2022) ....................................................................30
Los Angeles County, Cal. v. Humphries,
   562 U.S. 29 (2010) .......................................................................................................................................35
Louisiana Fair Hous. Action Ctr., Inc. v. Azalea Garden Properties, L.L.C.,
   82 F.4th 345 (5th Cir. 2023) .......................................................................................................................31
Machete Prods., L.L.C. v. Page,
   809 F.3d 281 (5th Cir. 2015) ......................................................................................................................28
Mi Familia Vota v. Abbott,
   977 F.3d 461 (5th Cir. 2020) ......................................................................................................................30
Mi Familia Vota v. Ogg,
   105 F.4th 313 (5th Cir. 2024) .....................................................................................................................31
Military-Veterans Advocacy v. Sec'y of Veterans Affairs,
   7 F.4th 1110 (Fed. Cir. 2021) .....................................................................................................................31
Miss. Power & Light Co. v. United Gas Pipe Line Co.,
   760 F.2d 618 (5th Cir. 1985) ......................................................................................................................28
Mock v. Garland,
   75 F.4th 563 (5th Cir. 2023) .......................................................................................................................29
Moody v. NetChoice, LLC,
   144 S.Ct. 2383 (2024) ..................................................................................................................................41
                                                                              iv
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 5 of 55



Morgan v. Plano Indep. Sch. Dist.,
   589 F.3d 740 (5th Cir. 2009) ......................................................................................................................37
Morgan v. Swanson,
   659 F.3d 359 (5th Cir. 2011) ......................................................................................................................37
Munaf v. Geren,
   553 U.S. 674 (2008) .....................................................................................................................................28
NAACP v. Tindell,
   95 F.4th 212 (5th Cir. 2024) ................................................................................................................ 29, 30
Nken v. Holder,
   556 U.S. 418 (2009) .....................................................................................................................................29
Pleasant Grove City, Utah v. Summum,
   555 U.S. 460 (2009) .....................................................................................................................................33
R.A.V. v. City of St. Paul,
   505 U.S. 377 (1992) .....................................................................................................................................46
Reagan Nat'l Advert. of Austin, Inc. v. City of Cedar Park,
   No. 20-50125, 2021 WL 3484698 (5th Cir. Aug. 6, 2021) .....................................................................30
Reed v. Town of Gilbert,
   576 U.S. 155 (2015) .....................................................................................................................................36
Rivera v. Houston Indep. Sch. Dist.,
   349 F.3d 244 (5th Cir. 2003) ......................................................................................................................35
Runyon v. McCrary,
   427 U.S. 160 (1976) .....................................................................................................................................46
Sabri v. United States,
   541 U.S. 600 (2004) .....................................................................................................................................42
Saxe v. State Coll. Area Sch. Dist.,
   240 F.3d 200 (3d Cir. 2001)................................................................................................................. 38, 44
Scott v. Sch. Bd. of Alachua Cnty.,
   324 F.3d 1246 (11th Cir. 2003) ..................................................................................................................38
Shamloo v. Mississippi State Bd. of Trustees of Institutions of Higher Learning,
   620 F.2d 516 (5th Cir. 1980) ............................................................................................................... 37, 43
Sierra Club v. Morton,
   405 U.S. 727 (1972) .....................................................................................................................................31
Simmons v. City of Columbus,
   425 F.App’x. 282 (5th Cir. 2011) ...............................................................................................................36
Tennessee v. Lane,
   541 U.S. 509 (2004) .....................................................................................................................................42
Tex. Democratic Party v. Abbott,
   978 F.3d 168 (5th Cir. 2020) ......................................................................................................................31
Tex. State LULAC v. Elfant,
   52 F.4th 248 (5th Cir. 2022) .......................................................................................................................30
Texans for Free Enter. v. Tex. Ethics Comm’n,
   732 F.3d 535 (5th Cir. 2013) ......................................................................................................................29
Texas v. Johnson,
   491 U.S. 397 (1989) .....................................................................................................................................43
Tinker v. Des Moines Indep. Cmty. Sch. Dist.,
   393 U.S. 503 (1969) ............................................................................................................................... passim
Trachtman v. Anker,
   563 F.2d 512 (2d Cir. 1977)........................................................................................................................43
                                                                              v
                Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 6 of 55



United States v. Booker,
 543 U.S. 220 (2005) .....................................................................................................................................47
United States v. Raines,
 362 U.S. 17 (1960) ................................................................................................................................ 42, 47
Wallace v. Performance Contractors, Inc.,
 57 F.4th 209 (5th Cir. 2023) .......................................................................................................................44
Ward v. Rock Against Racism,
 491 U.S. 781 (1989) ....................................................................................................................................... 1
West v. Derby Unified Sch. Dist. No. 260,
 206 F.3d 1358 (10th Cir. 2000) ........................................................................................................... 38, 40
Will v. Michigan Dep’t of State Police,
 491 U.S. 58 (1989) .......................................................................................................................................35
Wisconsin v. Mitchell,
 508 U.S. 476 (1993) .....................................................................................................................................46

Constitutional Provisions, Rules, and Statutes
Fed. R. Evid. 602 .............................................................................................................................................27
Fed. R. Evid. 901 .............................................................................................................................................27
U.S. Const. amend 1 ................................................................................................................................ passim
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  § 1983 ............................................................................................................................................... 26, 35, 44
  § 2000e-2(a)(1) ....................................................................................................................................... 44, 46
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  102 Tex. L. Rev. 1059 (2024) .....................................................................................................................37
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  § 2949 (3d ed.) ..............................................................................................................................................27




                                                                                vi
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 7 of 55



                                                  INTRODUCTION

         Defendants showed in their motion to dismiss1 that Plaintiffs do not have jurisdiction to bring

this challenge and that their allegations otherwise fail to establish a plausible claim. But here, with the

more complete evidentiary picture available on consideration of a motion for a preliminary injunction,

the Court can see for itself that many of Plaintiffs’ core factual allegations are not just baseless or

misleading—they are flatly untrue. Among Plaintiffs’ many false contentions, four play a central role

in ostensibly supporting the likelihood of success on the merits.

         First, Plaintiffs say “campus officials followed Governor Abbott directions [sic], repeatedly

interfering with Plaintiffs’ protests” in Mid-2024, based on the fact that the University Defendants’

revised their campus policies pursuant to GA-44.2 But the University Defendants did not revise their

written campus policies until Summer 2024—after the spring protests ended. And where the

University Defendants did end pro-Palestinian encampments and disruptive protests, they did so

under time, place, and manner policies predating revisions enacted in response to GA-44.3 Plaintiffs

can show no causal link between actions taken by the University Defendants and the enactment of

GA-44. No doubt aware of the uphill battle they would face in challenging those content-neutral

rules,4 Plaintiffs did not bother to do so.

         Second, Plaintiffs say the University Defendants followed Governor Abbott’s directions by

applying GA-44 and ending Plaintiffs’ “peaceful” events with force and arrests,5 insinuating that it is

irrelevant precisely when the University Defendants revised their written policies. However



1 Defendants’ Factual Background, infra, repeats the same background facts that the Court can find in Defendants’ Motion

to Dismiss Plaintiffs’ Amended Complaint (ECF 31), but also includes new evidence that was not relevant to Defendants’
jurisdictional arguments under Rule 12(b)(1) or proper for the Court to consider on Defendants’ Rule 12(b)(6) arguments.
2 ECF 21, p. 13.
3 Infra, note 233.
4 See, e.g., Ward v. Rock Against Racism, 491 U.S. 781, 798–99 (1989) (“[A] regulation of the time, place, or manner of

protected speech must be narrowly tailored to serve the government's legitimate, content-neutral interests but that it need
not be the least restrictive or least intrusive means of doing so.”).
5 ECF 21, p. 6.


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                 Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 8 of 55



implausible this allegation, Plaintiffs do nothing to support it in their motion. GA-44 plainly does not

instruct universities to make any arrests or to end “peaceful” protests.6

           Third, Plaintiffs say Governor Abbott can implement the terms of his executive order directly,

citing the Texas Department of Public Safety’s (DPS) response to the Palestine Solidarity Committee’s

protest on April 24.7 But Plaintiffs give the Court no evidence showing that DPS made arrests in

furtherance of GA-44, that DPS made arrests to silence the protestors’ message, or even that

Governor Abbott ordered DPS to arrest protestors. In reality, the University Defendants requested

mutual aid from outside law enforcement, including DPS, while responding to protestors who

persistently refused to comply with lawful commands by peace officers to disperse after breaking

content-neutral time, place, and manner regulations or laws that prohibit public camping.8

           Fourth, Plaintiffs say the University Defendants modified their policies “to include special

rules about criticizing Israel,”9 but Plaintiffs cannot identify even one sentence in one University policy

supporting that contention. So, Plaintiffs direct the Court back to GA-44, which they say includes “a

definition of antisemitism that prohibits the normal and typical criticisms people make about foreign

countries.”10 But GA-44 does not create a new definition; it references the definition in Texas

Government Code § 448.001(2), which was promulgated in 2021 and which the Plaintiffs have not

challenged.11 And in any event, Plaintiffs’ characterization of the International Holocaust

Remembrance Alliance (IHRA) standard incorporated into § 448.001(2) says the opposite of what

Plaintiffs say it does: that document explicitly states that “criticism of Israel similar to that leveled

against any other country cannot be regarded as antisemitic.”12


6 ECF 21-1, p. 3.
7 ECF 21, p. 12.
8 Infra, pp. 12–20.
9 ECF 21, pp. 4, 6.
10 Id., p. 11.
11 See generally ECF 21-1.
12 Working definition of antisemitism, INTERNATIONAL HOLOCAUST REMEMBRANCE ALLIANCE (May 26, 2016),
https://holocaustremembrance.com/resources/working-definition-antisemitism.

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             Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 9 of 55



          With these contentions set aside, what remains of Plaintiffs’ argument? Plaintiffs claim GA-

44 creates speech restrictions that cannot be applied without reference to the content of the regulated

speech, and thus entails a straightforward First Amendment violation.13 GA-44 does no such thing

because it does not apply to Plaintiffs’ speech—it applies to Texas public universities.14 Moreover,

Tinker confirms that the University Defendants did not violate the First Amendment when they ended

protests they reasonably expected would cause substantial disruption to their campuses or collide with

the rights of others.15

          For all the foregoing reasons, Plaintiffs do not have a substantial likelihood of succeeding on

the merits of their claim. Because Plaintiffs rely on their supposed likelihood of success in proving a

First Amendment violation to satisfy the remaining prongs of the preliminary injunction standard,16

they did not offer separate arguments relating to the other prongs, and their failure to satisfy the first

prong is thus fatal to their motion. Moreover, without a strong showing on the merits of their First

Amendment claim, it becomes clear that the Plaintiffs have not shown irreparable harm or that the

public interest would favor granting the injunction. The court should deny Plaintiffs’ motion.

                                                FACTUAL BACKGROUND

          On October 7, 2023, Hamas, a Palestinian Sunni Islamist terrorist organization, launched a

surprise attack from the Gaza Strip (“Gaza”) into the central and southern regions of Israel, targeting

and killing over 1,200 noncombatants.17 Hamas took 253 men, women, and children from their homes

and carried them back to Gaza as hostages,18 including at least ten Americans.19 During the rampage,




13 ECF 21, p. 14.
14 ECF 21-1, p. 3.
15 See Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969).
16 See Elrod v. Burns, 427 U.S. 347, 373 (1976).
17  Bill Hutchinson, Israel-Hamas War: Timeline and key developments, ABC NEWS (Nov. 22, 2023, 2:24 PM),
https://abcnews.go.com/International/timeline-surprise-rocket-attack-hamas-israel/story?id=103816006.
18 Id.
19 Israel-Hamas War, ENCYCLOPEDIA BRITANNICA (Jun. 13, 2024, 8:26 PM), https://tinyurl.com/2p647wan.


                                                                3
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 10 of 55



Hamas militants decapitated children20 and engaged in “sexualized torture” of women. 21 In response

to one of the deadliest terror attacks in modern history,22 Israel declared war on Hamas and began air

strikes in Gaza.23 Today, the conflict is ongoing, and its death toll continues to rise.24

I.        Pro-Palestinian Campus Protests Erupt across the Country.

          In the days that followed Hamas’s October 7 attack, widespread unrest broke out on college

and university campuses across the United States.25 Some students immediately celebrated the attack,

before Israel had even responded.26 On October 8, National Students for Justice in Palestine (“NSJP”),

of which several Plaintiffs here are campus chapters, published a “tool kit” celebrating the atrocity

and providing guidance to campus chapters across the country:

          Today, we witness a historic win for the Palestinian resistance . . . reminding each of
          us that total return and liberation to Palestine is near. Catching the enemy completely
          by surprise, the Palestinian resistance has captured over a dozen settlements
          surrounding Gaza . . . . This is what it means to Free Palestine: not just slogans
          and rallies, but armed confrontation with the oppressors. 27

NSJP’s playbook called on its student members throughout the country to eschew peaceful resistance

and “disrupt” college campuses, encouraging “armed struggle, general strikes, and popular



20 Muhammad Darwish et al., Children found ‘butchered’ in Israeli kibbutz, IDF says, as horror of Hamas’ attacks near border begins

to emerge, CNN (Oct. 13, 2023), https://tinyurl.com/bdz37kvj.
21 Edith M. Lederer, A UN envoy says there are ‘reasonable grounds’ to believe Hamas committed sexual violence on Oct. 7, AP NEWS

(Mar. 4, 2024), https://tinyurl.com/5754m2kb.
22 Daniel Byman et al., Hamas’s October 7 Attack: Visualizing the Data, CENTER FOR STRATEGIC & INTERNATIONAL STUDIES

(Dec. 19, 2023), https://www.csis.org/analysis/hamass-october-7-attack-visualizing-data (noting that “[t]he October 7
attack was the deadliest terrorist attack against Israel since the state’s establishment in 1948, and the scale of the death toll
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23 Betsy Reed, Israel-Hamas war: what happened in the first few days and what caused the conflict?, THE GUARDIAN (Oct. 8, 2023),

https://theguardian.com/world/2023/oct/08/israel-hamas-gaza-palestinian-territories.
24 Israel-Hamas war latest: Netanyahu signals cease-fire deal could be shaping up as deaths top 39,000, AP NEWS (July 23, 2024),

https://apnews.com/article/israel-hamas-war-latest-23-july-2024-c3129ac8b77f731e00538e5659e107d0.
25 Nadine El-Bawab, How pro-Palestinian protests unfolded on college campuses across the US: A timeline, ABC NEWS (May 4, 2024),

https://tinyurl.com/29fn7kdn.
26 Charles Hilu, Columbia University Students Announce Event Celebrating Hamas’s Oct. 7 Attack, WASH. FREE BEACON (Dec. 4,

2023), https://tinyurl.com/yzm34jbz.
27 Spencer Dalke, National Students for Justice in Palestine celebrates glider attack in ‘call to action’ image, CAMPUS REFORM (Oct. 10,

2023, 12:35 PM), https://tinyurl.com/4tu3wm3x; Randy Kessler, Language around ‘Day of Resistance and Protest’ leaves Jews
fearful, SEATTLE TIMES (Oct. 18, 2023, 3:34 PM), https://tinyurl.com/bd44xnxh. NSJP has since removed this language
from their publication: see Day of Resistance Toolkit, NSJP (last visited Aug. 16, 2024),
https://docs.google.com/document/d/12IuQt1usUsyHWoHIcFYdAbpYK2H3bHJocPCrVyYT08s/edit.

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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 11 of 55



demonstrations. All of it is legitimate, and all of it is necessary,” since “[y]ou don’t get freedom

peacefully.”28 Some have leveled charges that NSJP is coordinating with the Iranian regime.29

          NSJP planned a National Day of Resistance for October 12, 2023, to celebrate Hamas’s

unprovoked attack,30 and students around the country quickly joined in calling for a “free Palestine,

from the river to the sea.”31 Plaintiffs insist that this and similar slogans are shorthand for students’

peaceful calls for dignity and freedom “for everyone in the geographic region.”32

          But most do not see this slogan as being the olive branch that Plaintiffs claim it is. The Anti-

Defamation League has explained that “[t]his rallying cry has long been used by anti-Israel voices,

including supporters of terrorist organizations such as Hamas and the [Popular Front for the

Liberation of Palestine], which seek Israel’s destruction through violent means.”33 The United States

House of Representatives has similarly resolved with strong bipartisan support that this phrase “is an

antisemitic call to arms with the goal of the eradication of the State of Israel, which is located between

the Jordan River and the Mediterranean Sea,” covering all of Israel. 34 Terrorist organizations “have

used and continue to use this slogan as a rallying cry for action to destroy Israel and exterminate the

Jewish people,” not only referring to the State of Israel, but specifically Jewish persons, calling for

death of Jews to liberate Palestine.35

          Nor have protestors across American university campuses limited their antisemitism to



28 Id.
29 Sam Westrop, REVEALED: Iranian Regime Involvement with Texas Student Anti-Israel Protests, MIDDLE EAST FORUM (Aug.

1, 2024), https://www.meforum.org/66013/revealed-iranian-regime-involvement-with-texas.
30 Joseph Ax and Gabriella Borter, US colleges become flashpoints for protests over Israel-Hamas war, REUTERS (Oct. 14, 2023),

https://www.reuters.com/world/us/us-colleges-become-flashpoints-protests-both-sides-israel-hamas-war-2023-10-13/.
31 Students for Justice in Palestine Endorses Terrorism and ‘Dismantling Zionism;’ Plans Day of resistance, ANTI-DEFAMATION LEAGUE

(Oct. 9, 2023), https://tinyurl.com/y63zputu.
32 ECF 20, ¶¶ 44, 55, 66, 74.
33 Slogan: “From the River to the Sea Palestine Will be Free”, ANTI-DEFAMATION LEAGUE (Oct. 26, 2023),

https://www.adl.org/resources/backgrounder/slogan-river-sea-palestine-will-be-free.
34 H.Res. 883 – Expressing the sense of the House of Representatives that the slogan “from the river to the sea, Palestine

will be free” is antisemitic and its use must be condemned, 118th Cong. (2024), https://www.congress.gov/bill/118th-
congress/house-resolution/883/text.
35 Id.; Doctrine of Hamas, THE WILSON CENTER, (Oct. 20, 2023) https://www.wilsoncenter.org/article/doctrine-hamas.


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          Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 12 of 55



rhetoric. Rather, protestors celebrating Hamas’s invasion of Israel have taken to confronting Jewish

students,36 leading to a drastic increase in antisemitic incidents at universities over the past year.37

Testifying before Congress, Kevin Rachlin, Washington Director of the Nexus Leadership Project,

described that “a staggering 73% of Jewish college students reported experiencing or witnessing some

form of antisemitism since the start of this [past] school year, and . . . two-thirds of students at the

nation’s top universities say antisemitism is a problem on campus.”38 Jewish students at some

universities have even reported experiencing exclusion from educational events, assault, and

incitement to violence since October 7th.

        For example, at University of California, San Diego, Jewish students meeting together drew

crowds of protestors “flying the Hamas flag” and who would “bang[] on the glass behind [Jewish

students’] heads and miming shooting [them] down.”39 And at Harvard, “Jewish students were forced

to hire private armed security for a concert in honor of Jewish students victimized by antisemitism;”

and one student kept “armed security outside [his] house.”40 Some “students at Harvard[] do not wear

their kippahs publicly anymore, have changed majors due to hostile anti-Israel environments, [and]

have been spat on for their religious identity[.]”41

        A federal district court recently denied Harvard’s motion to dismiss a claim by students alleging

violations of Title VI, expressing serious doubts that Harvard could claim that some of the pro-




36 Campus Antisemitism Surges Amid Encampments and Related Protests and Other U.S. Colleges, ANTI-DEFAMATION LEAGUE

(Mar. 22, 2024), https://tinyurl.com/2s3ykay3.
37 Testimony of Kevin Rachlin, Washington Director of the Nexus Leadership Project: Hearing before the House

Committee on the Judiciary, Subcommittee on the Constitution and Limited Government, 118th Cong. (2024), at 1
[henceforth, “Rachlin 2024 Congressional Testimony”], https://tinyurl.com/27h6zt4t.
38 Id.
39 Written Testimony of Professor Brian Keating, Hearing before Committee on Education and the Workforce

Subcommittee on Workforce Protections before the United States House of Representatives, 118th Cong. (2024), at 12
[henceforth, “Keating 2024 Congressional Testimony”], https://tinyurl.com/3wmapdk5.
40 Testimony of Shabbos Kestenbaum: Hearing before the House Committee on the Judiciary, Subcommittee on the

Constitution and Limited Government, 118th Cong. (2024), at 2–4 [henceforth, “Kestenbaum 2024 Congressional
Testimony”], https://tinyurl.com/5ekfuduv.
41 Id. at 4.


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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 13 of 55



Palestinian or anti-Jewish activities were protected by the First Amendment.42 And another federal

district court entered an injunction in favor of Jewish students who earlier this year “were excluded

from portions of the UCLA campus because they refused to denounce their faith” when crossing an

academic quad on which pro-Palestinian protestors had set up an encampment.43

II.       NSJP Circulates “Escalation” Tactics for Students to Maximize Campus Disruption.

          After the winter break, rather than calming down, students intensified their efforts to

foreground the Israel-Hamas conflict on campus and change university policies. Protestors also

doubled down on their tactics, “commandeering campus quads and occup[ying] university buildings,

. . . and creating an atmosphere of harassment, intimidation, and fear for Jewish students, faculty, and

staff, and disrupting normal campus activities for all campus citizens, Jewish and non-Jewish alike.”44

These incidents followed NSJP’s February 8, 2024 call for a “National Divestment Day of Action.”45

          NSJP targeted “[university] Administration” and “Board[s] of Regents” with “sustained, long-

term campaigns to push our universities to end their complicity in the genocide of Palestinians.”46

NSJP’s playbook also detailed “Escalation Tactics,” which guides campus SJP chapters on methods

for disruption and advises students on the level of response they could expect from university

administrations and media.47 NSJP’s tactics ranged from “Level 1,” for which students should expect

“[n]o significant admin or media blowback” to “Level 4,” for which students should prepare for

“significant admin and media blowback, . . . [and] legal consequences.”48



42 Aaron Katersky and Julia Reinstein, Harvard ‘failed its Jewish students’ and must face antisemitism lawsuit, judge says, ABC NEWS

(Aug. 7, 2024), https://tinyurl.com/yfx767ve; see also Memorandum and Order on Defendant’s Motion to Dismiss,
Kestenbaum et al. v. Presidents and Fellows of Harvard College, No. 1:24-cv-10092-RGS, 2024 WL 3658793, *6 (D. Mass. Aug. 6,
2024).
43 Order Re: Motion for Preliminary Injunction (ECF NO. 48), Frankel v. Regents of the Univ. of Cal., No. 2:24-cv-04702-

MCS-PD, 2024 WL 3811250, *1–3 (C.D. Cal. Aug. 13, 2024).
44 Ted Deutch, Crisis on Campus: Antisemitism, Radical Faculty, and the Failure of University Leadership, 118 Cong. (2024), at 1,

https://tinyurl.com/32cuwhtk.
45 National Student Day of Action for Divestment, NSJP (Jan. 31, 2024), https://tinyurl.com/22y4sutr.
46 Id.
47 Id.
48 Id.


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           Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 14 of 55



         NSJP’s “Level 4” tactics included (1) campus occupations and “sit-ins” where students

should “[p]ick a heavily trafficked location and/or place with lots of significance; (2) blockades

focused on “disrupt[ing] the function of a specific building or office,” such as “an administrative

building, the admissions office, the student center, or a recruitment event;” and (3) creative

disruption of “high-profile university events or ceremonies,” which could include “[w]alk-outs,

standing up and turning backs, entering en masse with signs, [and] birddogging.”49

         Student agitators did not hesitate to implement NSJP’s guidance for maximizing disruption of

university campuses. For instance, throughout February at Cornell, students held weekly die-ins where

crowds of 200 protestors would walk into libraries, lay on the floor, and yell genocidal slogans as

students attempted to study.50 Columbia saw “protests unprecedented in type and scale, a level of

threats and harassment, specifically directed at[] Jewish students,” and police involvement became

immediately necessary to maintain the security of Jewish students.51 And at University of California,

San Diego, encampments sprang up where agitators carried weapons and oil-soaked rags while

shouting “antisemitic genocidal chants such as ‘there is only one solution – intifada revolution’ and

‘murder the Jews’ to an identifiably Jewish student.”52

         Since February, NSJP announced a “coordinated pressure campaign against university

administrators and trustees.”53 NSJP made their goals explicit: “SJP chapters across the nation will

seize the university and force the administration to divest . . . .”54 NSJP openly called upon agitators




49 Id. (NSJP defines “Bird-Dogging” as “a tactic in which participants pursue their target wherever they are in order to

force the target to pay attention or respond to their issue. This usually involves gathering some information on where your
target might be when . . . and/or familiarizing yourself with your targets’ routines”).
50 Testimony of Talia Dror, Committee on Ways and Means, U.S. House of Representatives, 118th Cong. (2024), at 2,

https://www.congress.gov/118/meeting/house/117430/witnesses/HHRG-118-WM00-Wstate-DrorT-20240613.pdf.
51 Statement of Claire Shipman, Committee on Education and the Workforce, U.S. House of Representatives, 118th Cong.

(2024), at 1 https://tinyurl.com/muezk2u5; see also Isha Banerjee, Timeline: The ‘Gaza Solidarity Encampment’, COLUMBIA
SPECTATOR (May 2, 2024), https://tinyurl.com/3dmecahw.
52 Keating 2024 Congressional Testimony, p. 7.
53 National SJP Announces the Popular University for Gaza (Apr. 20, 2024), https://nationalsjp.org/popular-university-for-gaza.
54 Id. (emphasis in original).


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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 15 of 55



to disrupt their universities’ educational mission: “The Popular University for Gaza is a coordinated

mass movement of students, faculty, and staff dedicated to preventing our universities from

performing their daily functions.”55 Encampments sprang up across the country as students revolted

against universities,56 “violent[ly] protest[ing] and [setting up] illegal encampments [that] severely

disrupted operations on over 100 campuses” across the country.57 Such protests have even resulted in

a breach of the White House and relocation of media and staff by the United States Secret Service.58

          At the University of Pennsylvania, students set up an encampment for over two weeks59

beginning on April 25.60 Inside the encampment, students vandalized the Benjamin Franklin statue

with Nazi and Hamas logos and graffiti reading “Zios get fuckt.”61 Students also “circulat[ed]

documents with instructions for escalating [the situation further]—including through building

occupations and violence,” as well as “terroristic threats.”62 Campus officials later found weapons

within the encampment.63 While campus agitators found common cause with Ayatollah Khamenei of

Iran, who praised them directly,64 Jewish students have often lamented the inadequate responses from

their universities.65




55 Declaration of Kelly Soucy, ¶¶ 8, 13–17; Declaration of Katie McGee, ¶ 30.
56  Hadas Gold, Student journalists assaulted, others arrested as protests on college campuses turn violent, CNN (May 1, 2024),
https://www.cnn.com/2024/05/01/media/college-protests-gaza-arrests-violence/index.html.
57 Jonathan Pidluzny, The Campus Antisemitism Complex at Elite U.S. Universities, Committee on Ways and Means, U.S. House

of Representatives, 118th Cong. (2024), at 1, https://tinyurl.com/2p8dawpv.
58 Caroline Downey, Pro-Palestinian Protesters Clash with Riot Police as They Breach White House Gate, NATIONAL REVIEW, (Jan.

14, 2024, 9:56 AM), https://tinyurl.com/yu47k7dh.
59 Testimony of Eyal Yakoby: Hearing before the House Committee on the Judiciary, Subcommittee on the Constitution

and Limited Government, 118th Cong. (2024), at 1 [henceforth, “Yakoby 2024 Congressional Testimony”]
https://tinyurl.com/2sj59vkm.
60 Diamy Wang, The Graduation Issue 2024: Penn’s Gaza Solidarity Encampment, from beginning to end, THE DAILY

PENNSYLVANIAN (May 16, 2024), https://www.thedp.com/article/2024/05/penn-gaza-solidarity-encampment-recap.
61 Yakoby 2024 Congressional Testimony, at 2.
62 Id.
63 Id.
64 Using antisemitic trope, Khamenei welcomes US student response to ‘Resistance Front’, THE TIMES OF ISRAEL (May 30, 2024),

https://www.timesofisrael.com/using-antisemitic-trope-khamenei-welcomes-us-student-protesters-to-resistance-front/.
65 See Kestenbaum 2024 Congressional Testimony, at 4 (“The response from Harvard? Nothing.”); Yakoby 2024 Congressional

Testimony, at 2 (“Penn, after 16 days finally disbanded the encampment, declaring, ‘Our community has been under threat—
for too long.’ . . . So let me ask you this, what value is such an acknowledgement if action takes two weeks?”).

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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 16 of 55



III.      Governor Abbott Signs Executive Order GA-44.

          On March 27, 2024, Governor Abbott issued GA-44 to address the rise in disruption and

antisemitic violence on college campuses,66 and to “ensure a safe learning environment for Jewish

students and all Texans.67 GA-44 includes two distinct sections: (1) a preamble recounting the

harrowing events of October 7 and its impact on the Jewish community in Texas, and (2) operative

clauses directing the State’s higher-education institutions to address antisemitism on campuses.68

          In the preamble to GA-44, Governor Abbott recognizes that some individuals have used

“antisemitic phrases such as ‘from the river to the sea, Palestine will be free,’ which has long been

used by Hamas supporters to call for the violent dismantling of the State of Israel and the destruction

of the Jewish people who live there.”69 But GA-44 also emphasizes the importance of protected

expression: “Texas supports free speech, especially on university campuses, but that freedom comes

with responsibilities for both students and the institutions themselves.”70 Free speech “can never incite

violence, encourage people to violate the law and harass other students or other Texans, or disrupt

the core educational purpose of a university[.]”71

          GA-44’s operative clauses call on Texas public universities to:

       1. Review and update free speech policies to address the sharp rise in antisemitic speech and acts
          on university campuses and establish appropriate punishments, including expulsion from the
          institution.

       2. Ensure that these policies are being enforced on campuses and that groups such as the
          Palestine Solidarity Committee and Students for Justice in Palestine are disciplined for
          violating these policies.

       3. Include the definition of antisemitism, adopted by the State of Texas in Section 448.001(2) of
          the Texas Government Code, in university free speech policies to guide university personnel


66 Governor Abbott Fights Antisemitic Acts At Texas Colleges, Universities, OFFICE OF THE TEXAS GOVERNOR (Mar. 27, 2024),

https://gov.texas.gov/news/post/governor-abbott-fights-antisemitic-acts-at-texas-colleges-universities.
67 ECF 21-1.
68 Id.
69 Id.
70 Id.
71 Id.


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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 17 of 55



          and students on what constitutes antisemitic speech.72
GA-44 thus called on Texas public universities to implement the State’s definition of antisemitism to

guide university personnel and students on what constitutes antisemitic speech, but said nothing about

prohibiting simple expression.73 Nor did GA-44 restrict anti-Israel speech through “micromanaging

the terms of the public debate by punishing students on one side of that debate.”74 Rather, GA-44

simply directs public universities to make their own judgements on how to address antisemitism

through their policies, and to discipline student organizations that violate those policies. 75

IV.       Students at Texas Public Universities Join NSJP’s Campaign to Seize Universities and
          “Disrupt their Daily Functions.”

          As students disrupted universities across the United States with encampments, blockades of

buildings, and other demonstrations, similar confrontations spread to universities in Texas. Public

universities reacted out of a concern that campus agitators in Texas would attempt to replicate what

was taking place across the country. That concern was not misplaced, as one of Plaintiffs’ members

admits directly that SJP chapters in Texas set up encampments “as part of a larger nationwide movement.”76

The movement broadcast its intention77 to seize control of campuses:




72 Id.
73 Id.
74 Compare ECF 20, ¶ 34, with ECF 21-2.
75 ECF 21-2.
76 ECF 21-2, ¶ 8(c).
77 Declaration of Kelly Soucy, pp. 7–8; Declaration of Levi Fox, ¶ 8.


                                                                   11
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 18 of 55




          A.         The University of Texas at Austin.

          Joining students from other universities, numerous agitators walked out of their classes at The

University of Texas at Austin (“UT Austin”) on April 24 in a “daylong protest[] organized by

Palestin[e] Solidarity Committee.”78 The Palestine Solidarity Committee had advertised that “class is

cancelled” and that they would “occupy the South Lawn.79




          Campus protestors marched through campus, blocking students from accessing class and

studying for finals.80 Afterwards, university officials sent out a form to collect student identification

information to ensure that students who could not attend class would not be punished.81 Protestors

ignored multiple commands by university officials and law enforcement for people to disperse, and


78 Chelsey Zhu, Becky Fogel, Students in San Antonio and Austin join nationwide protests supporting Palestinians, TEXAS PUBLIC

RADIO (Apr. 24, 2024), https://tinyurl.com/86yv86rv. Plaintiffs’ motion (at p. 13) also asserts that UT-Austin campus
officials cancelled an Israel Apartheid Week protest on April 2 (incorrectly stated as April 1 at page 6). The facts are to the
contrary. University officials worked with PSC to ensure their counterprotest could occur consistent with university time,
place, and manner rules and PSC leadership afterward praised campus officials to the media for “understand[ing] that we
want to demonstrate” and expressed that “we’re thankful that rather than serve as a hindrance, they actually have served
to streamline that process.” See Declaration of Katie McGee, ¶¶ 13-15.
79 Declaration of Katie McGee, ¶ 38; Declaration of Shane Streepy, ¶¶ 13–17; Declaration of Kelly Soucy, p. 7; Declaration of Barri Seitz,

¶ 12; see also PSC ATX (@psc_atx), INSTAGRAM, https://tinyurl.com/bdzfmfn5 (last visited August 18, 2024).
80 Jay Janner et al., Pro-Palestinian protest held at UT-Austin, protesters arrested. Here's what it looked like, AUSTIN AMERICAN

STATESMAN (Apr. 24, 2024), https://tinyurl.com/4c4p7hbe; Aaron E Martinez and Jay Janner. ‘Whose lawn? Our lawn!’
Photos from Pro-Palestinian encampment protest held on UT campus, AUSTIN AMERICAN STATESMAN (Apr. 29, 2024),
https://tinyurl.com/2r8pz27v.
81 Declaration of Kelly Soucy, ¶ 45; Declaration of Levi Fox, ¶ 10; Declaration of Katie McGee, ¶ 45 (stating that the Dean of Students

office received approximately 498 student requests for class accommodations).

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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 19 of 55



later set up tents on the South Mall.82 At least one protestor punched a peace officer in the face,

causing the officer to need gauze to stop the bleeding.83 UT Austin asked for mutual aid from DPS

and the Austin Police Department because, given the modest size of the UTPD and the large size of

the anticipated protest, UTPD needed assistance “in case things devolved.”84

          UT Austin’s focus in responding to the protest was on ending “disruptions of campus activities

or operations like we have seen at other campuses.”85 After all, the end of the year “is an important

time in our semester with students finishing classes and studying for finals,” and, campus officials

expressed that they would “act first and foremost to allow those critical functions to proceed without

interruption.”86 Following the undeniably disruptive demonstration on April 24, UT Austin President

Hartzell issued a statement observing that the national trend of campus disruption had come to Texas:

          As the push to disrupt top universities spreads across the country, many campuses
          such as ours are facing similarly difficult challenges. . . . The University’s decision to
          not allow yesterday’s event to go as planned was made because we had credible
          indications that the event’s organizers, whether national or local, were trying . . . to
          severely disrupt a campus for a long period. Consistent with this broader
          movement that is impacting so many, problematic aspects of the planned protest
          were modeled after a national organization’s protest playbook. And notably, 26
          of the 55 individuals arrested yesterday had no UT affiliation.
          Against this backdrop, I am reminded today that we have much to be thankful for. I’m
          thankful we live in a country where free expression is a fiercely protected
          Constitutional right. I’m grateful that our campus has seen 13 pro-Palestinian events
          take place during the past several months largely without incident — plus another one
          today[, April 25].87
UT Austin permitted pro-Palestinian protest events consistent with university speech rules, but

campus agitators only continued escalating their demonstrations to maximize disruption.




82 Declaration of Kelly Soucy, ¶¶ 18–22, 24–25, 27, 30; Declaration of Shane Streepy, ¶¶ 23–32.
83 Declaration of Levi Fox, ¶ 11.
84 Declaration of Shane Streepy, ¶ 13-17.
85     April 24 Statement from UT’s Division of Student Affairs, UT NEWS (Apr. 24, 2024),
https://news.utexas.edu/2024/04/24/april-24-statement-from-uts-division-of-student-affairs/.
86 Id.
87   Jay Hartzell, Balancing Speech, Safety and Our Mission, UT AUSTIN OFFICE OF THE PRESIDENT,
https://president.utexas.edu/2024-messages-speeches/balancing-speech-safety-and-our-mission.

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           Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 20 of 55



         In the days following April 24, more protests involving PSC occurred, but because they were

orderly, non-disruptive, and followed Institutional Rules, neither officials from the Dean of Students

office nor law enforcement officials became involved.”88 On April 29, protestors “erected a tent

encampment on the South Lawn, with a barricade enclosure of tables secured by metal chains, and

strategically placed tools, tents, and rocks.”89 Police also intercepted a protestor with a handgun,

unlawfully carried on campus without a license, shoved in his waistband, a round in the chamber, and

extra magazines.90 Protestors escalated things from there, “becoming physically and verbally

combative with Dean of Students’ staff.”91 After protestors refused to comply with directives from

the Dean of Students staff, which violates campus rules, UT Austin requested mutual aid from the

Texas Department of Public Safety, Austin Police Department, and Travis County Sheriff’s Office to

protect the safety of the campus community and end the extremely disruptive event.92 Protestors

ultimately ignored UT Austin’s efforts “to preserve a safe, conducive learning environment for our

53,000 students as they prepare for final exams.”93

         More than half of the approximately 79 people arrested on April 29 had no affiliation with the

University.94 As the University explained, that level of outside involvement “validate[s] our concern

that much of the disruption on campus over the past week has been orchestrated by people from

outside the University, including groups with ties to escalating protests at other universities around

the country.”95



88
   Declaration of Kelly Soucy, ¶ 37; Declaration of Shane Streepy, ¶ 33.
89   University of Texas at Austin Statement Regarding Today’s Protest Events, UT NEWS (Apr. 29, 2024),
https://news.utexas.edu/2024/04/29/university-of-texas-at-austin-statement-regarding-todays-protest-events/; see also
Declaration of Barri Seitz, ¶¶ 17–20.
90 Brianna Hollis, Man arrested after carrying gun during UT protests, court documents say, KXAN (May 10, 2024, 7:54 PM),

https://tinyurl.com/4p7382jw.
91 Id.; see also Declaration of Kelly Soucy, ¶ 34.
92 Supra, note 89; see also Declaration of Share Streepy, ¶¶ 13–17.
93 Id.
94 UT Statement Regarding Arrests from Monday’s Protest and Confiscation of Weapons, UT NEWS (Apr. 30, 2024),

https://news.utexas.edu/2024/04/30/ut-statement-regarding-monday-arrests-and-confiscation-of-weapons/.
95 Id.


                                                           14
             Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 21 of 55



           Campus agitators armed themselves with “guns, buckets of large rocks, bricks, steel enforced

wood planks, mallets, and chains.”96 Staff were physically assaulted and threatened, and police have

been hit with horse excrement, while their police cars have had tires slashed with knives.97 Not only

that but stacks of handouts containing Hamas propaganda were also found in the debris left behind

by protestors.98

           Some Jewish students have described their own interactions with pro-Palestinian protestors

on campus since October 7.99 On November 9, some pro-Palestinian protestors held an event on the

anniversary of Kristallnacht, a day of mourning when Nazis attacked the Jewish people and their

property in Germany.100 In January, Yaron Brook, a prominent Israeli-American business speaker,

held an event at the McCombs School of Business where pro-Palestinian protestors screamed violent

and disruptive phrases while he spoke.101 And during the April 29 protest, masked pro-Palestinian

protestors explicitly said “we don’t want Jews on campus.”102 Those students observed firsthand that

the April 24 and 29 protests were disruptive of academic programming, and believed that UT Austin

took reasonable steps to respond to these events.103

           B.         The University of Texas at San Antonio.

           Also on April 24, dozens of protestors gathered at The University of Texas at San Antonio

(“UTSA”) for a “Gaza Solidarity Action.”104 In anticipation of the demonstration and what it could

become, UTSA provided “a significantly increased presence of law enforcement.”105 UTSA President




96 Id.
97 Id.; Declaration of Barri Seitz, ¶ 15.
98 William La Jeunesse, University of Texas anti-Israel encampment sees Hamas propaganda, weapons, FOX NEWS (May 8, 2024),

https://tinyurl.com/yc3p2n36.
99 See generally Declaration of Levi Fox; Declaration of Barri Seitz.
100 Declaration of Levi Fox, ¶ 4.
101 Declaration of Barri Seitz, ¶ 4–5.
102 Declaration of Levi Fox, ¶ 13.
103 Declaration of Levi Fox, ¶¶ 11, 15–16; Declaration of Barri Seitz, ¶¶ 22–23.
104 Supra, note 78.
105 Id.


                                                                 15
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 22 of 55



Taylor Eighmy said in anticipation of campus demonstrations “as part of a larger national campaign”

that UTSA would “not tolerate disruptive behavior, vandalism, or antisemitism.”106

          Nor can Plaintiffs genuinely contest that UTSA permitted pro-Palestinian protests to go

forward. Amanda Sellers, the co-chair of Young Democratic Socialists of America at UTSA,

reportedly said that UTSA’s treatment of protestors had been reasonable:

          We’ve been organizing for the past 16 weeks, we’ve had no pushback really from
          admin . . . If you look at what’s going on at UT Dallas, if you look at what’s going on
          at UT Austin, we get away with so much on this campus. And I think that’s partly
          because we have a rapport with the dean of students. She’s not the enemy.107
UTSA’s response contextualized concerns about campus disruption and student safety against the

backdrop of “protests and expressive activity across hundreds of campuses involving student groups.

Outside groups have also been involved, and in many cases, causing disruptive activities, many of

which turned violent.”108 Ultimately, university officials permitted student protests to continue subject

to the university’s time, manner, place restrictions.109

          Earlier this year, UTSA also grappled with acts of vandalism from pro-Palestinian

protestors.110 For example, on April 8, a student vandalized Sombrilla Plaza by spray-painting anti-

Israel statements and inverted red triangles over the faces of students on various posters, some of

which promoted inclusion, depicted below.111




106 Id.; see also Don Morgan, UTSA President issues statement, warning about potential for demonstrations on campus, SAN ANTONIO

NEWS (Apr. 24, 2024), https://tinyurl.com/ytd6x99z.
107 Isaac Windes, Pro-Palestine advocates get face time with UTSA official as protests intensify, SAN ANTONIO REPORT (May 3, 2024),

https://sanantonioreport.org/pro-palestine-advocates-get-face-time-with-utsa-official-as-protests-intensify/.
108 Taylor Eighmy, President Eighmy provides end-of-semester message to the Roadrunner community, UNIVERSITY OF TEXAS AT SAN

ANTONIO (May 3, 2024), https://www.utsa.edu/today/2024/05/story/president-eighmy-end-of-semester-message.html.
109 Gabriella Ybarra, UTSA students call for cease-fire in Gaza, accuse university of being anti-free speech, SAN ANTONIO EXPRESS-

NEWS (Apr. 24, 2024), https://www.expressnews.com/news/education/article/utsa-campus-protest-19420191.php.
110 See generally Declaration of LaTonya Robinson.
111 Id., p. 7.


                                                               16
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 23 of 55




The inverted red triangle has been used by Hamas to identify Israeli military targets, and by Nazis to

identify prisoners in death camps during the Holocaust.112 The responsible student attempted to justify

his actions by stating that UTSA had not made a strong enough statement for support of Palestine,

but he later accepted responsibility.113 UTSA appropriately sanctioned the student for his actions.114




112 Id., p. 7 (citing Natalie Stechyson, What does the inverted red triangle sued by some pro-Palestinian demonstrators symbolize?, CBC

(JUN. 4, 2024 9:00 AM), https://www.cbc.ca/news/canada/gaza-red-triangle-meaning-1.7216788).
113 Declaration of LaTonya Robinson, p. 7.
114 Id.


                                                                 17
           Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 24 of 55



         C.        The University of Texas at Dallas.

         Protestors at The University of Texas at Dallas (“UTD”) set up an encampment at Chess Plaza

on May 1, “joining the nationwide demonstrations over the war in Gaza.”115 During the encampment

on May 1, demonstrators set up 10 tents and assembled about 100 students at the plaza116 before law

enforcement took down the encampment, partially depicted below.117




Police instructed protestors to disperse, and only removed structures and made arrests after protestors

refused to comply.118 Campus agitators used drums, megaphones, and a speaker system to maximize

disruption.119 They later released a compilation of video recordings depicting their events and stating




115 Alejandra Martinez, 17 pro-Palestinian demonstrators arrested at UT-Dallas as police break up encampment, THE TEXAS TRIBUNE

(May 1, 2024), https://www.texastribune.org/2024/05/01/ut-dallas-palestinian-protest-arrests/.
116 Id.
117 Declaration of Amanda Smith, p. 6.
118 Steven Rosenbaum et al., Law enforcement removes encampments at UT Dallas campus, at least 17 arrested, CBS NEWS (May 1,

2024), https://www.cbsnews.com/texas/news/gaza-protest-encampment-university-texas-dallas/.
119 SJP UTD (@sjputd), INSTAGRAM, https://www.instagram.com/reel/C6jdZ2Dp_kh (last visited August 9, 2024).


                                                             18
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 25 of 55



that “[w]e will continue to escalate and take action until the day Palestine is free.”120 Video footage

reflects these accounts.121

              Earlier this year, on April 23, pro-Palestinian protestors held a rally in a common area of

campus and later they marched into the campus Administration Building, blocking access to

elevators.122 After protesting for hours, they voluntarily agreed to leave the building in exchange for a

meeting with university officials.123 Several days later, the protestors again held a rally before and while

meeting with university officials, using a bullhorn and drum inside the Administration Building.124 The

protest disrupted staff as they attempted to carry out their work-related duties, classes that were in

session, and students with disabilities were using the AccessAbility Resource Center for assistance.125

After the meeting, protestors left the building and continued their protest outside.126

              During the May 1 encampment, Dean Smith issued a written notice to protestors, informing

them that university policy did not permit the encampment.127 The encampment “violated institutional

rules governing speech, expression and assembly, which prohibit tents, barricades and other

structures,” and arrests were made after protestors failed to remove their encampment despite a final

warning according to UTD President Dr. Richard Benson.128 University officials noted that

“individuals who participated in the May 1 encampment . . . were not arrested for protesting [but

instead] for criminal trespass after failing to comply with requests that they remove the barricaded




120 See id.
121 Declaration of Adam Perry, Exs. C & D.
122 Declaration of Amanda Smith, ¶ 14.
123 Id., ¶ 14(f).
124 Id., ¶ 16.
125 Id.
126 Id.
127 Id., ¶¶ 20–21; Declaration of Adam Perry, ¶¶ 8–10.
128 Declaration of Amanda Smith, ¶¶ 20–21.


                                                         19
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 26 of 55



encampment they erected[.]”129 After the encampment was cleared,130 protestors continued their protest

nearby for over an hour.131

          Earlier this month, several UTD students spoke publicly about their arrests, bond conditions,

and the campus rules they violated.132 Rather than attribute to GA-44 any role in preventing their

protests, at least one student blamed her bond conditions: “It’s very clear that the bond conditions,

no matter their interpretation, were designed in a way that we cannot organize on campus.”133

          D.        The University of Houston.

          On May 8, protestors gathered at the University of Houston (“UH”), setting up an

encampment on the fields of Butler Plaza early in the morning hours.134 People also surrounded the

area with wooden barricades comprised of UH’s wooden shipping pallets that had been stolen from

the Student Center.135 According to one student, “[w]e felt it was important to set up an encampment

and to show our university that we’re serious about our demands . . . .”136 Protestors broadcasted their

goals on social media: “the students . . . will do anything in their power to prevent the board of regents

from functioning.”137 They also made explicit calls for a campus takeover to “shut it down,” shouting:

“No such thing as graduation, we will fight to liberation . . . we are all SJP . . . shut it down, shut it

down, shut it down . . . shut another campus down . . . board of regents you can’t hide . . . .”138




129 Marcela Rodrigues, Back to school while banned from campus: UT Dallas protesters fight discipline, THE DALLAS MORNING NEWS
(Aug. 6, 2024), https://tinyurl.com/marydzpp.
130 See generally Declaration of Adam Perry.
131 Id., ¶ 19.
132 Id.
133 Id.
134 Sneha Dey and Alejandro Serrano, Police dismantle pro-Palestinian encampment at University of Houston, arrest two students, THE
TEXAS TRIBUNE (May 8, 2024), https://www.texastribune.org/2024/05/08/university-houston-encampment-arrests/.
135 Id.
136 Id.
137 SJP HTX (@sjphtx), INSTAGRAM, https://www.instagram.com/reel/C6taGc4gpri (last visited August 9, 2024).
138 SJP HTX (@sjphtx), INSTAGRAM, https://www.instagram.com/reel/C66r-Agg4GW (last visited August 9, 2024);
Houston TX PSL (@houstontxpsl), INSTAGRAM, https://www.instagram.com/reel/C6NOo9EJmkP (last visited August
9, 2024).

                                                               20
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 27 of 55



              Campus officials attempted to negotiate with protestors to resolve the situation, but protestors

responded by clarifying that they had no intention of stopping—disruption was apparently necessary

to their goals.139 Peace officers responded after protestors ignored requests to leave,140 but protestors

attempted to prevent officers from removing their encampment despite repeated warnings that the

chapter had violated university policy.141

              Although pro-Palestinian protestors held numerous events in the Spring of 2024, they often

contravened UH’s existing content-neutral anti-disruption policies.142 Similarly, when students set up

an encampment on May 8, campus officials explained that state laws prohibited camping on state

property.143 Video footage shows protestors’ encampment at Butler Plaza, peace officers dissembling

that encampment while protestors continued to shout in support of Palestinians, and several

protestors huddled, arms linked, resisting lawful commands to disperse.144

V.            Universities Across the Country Suspend SJP Chapters and Bring in Law Enforcement
              to End Encampments.

              Many universities have suspended student chapters of NSJP from operating on their campuses

since last October, recently including, for example, student organizations at University of Wisconsin-

Milwaukee.145 The university suspended these student groups for their association with a social media

post encouraging harassment and violence of Jewish students and campus organizations.146 Arrests of

campus agitators were not unique to Texas. Rather, since April 18, law enforcement agencies have

arrested around 3,100 protestors nationwide for violating state and local law, and disrupting campus




139 See id.
140 SJP HTX (@sjphtx), INSTAGRAM, https://www.instagram.com/reel/C6t8cIzpAha (last visited August 9, 2024).
141 See id.
142 Declaration of Paul Kittle, ¶¶ 6–10.
143 Id., ¶ 12.
144 Id., Ex. A.
145 Michael Starr, UWM anti-Israel groups suspended for call to treat Jewish orgs as ‘extremist criminals’, THE JERUSALEM POST (Aug.

4, 2024), https://tinyurl.com/5aub6u9b.
146 Id.


                                                                21
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 28 of 55



functions.147 Depicted below is a map of campus arrests across the country:




                                                                                                                              148


          Several examples stand out. At Columbia, New York Police Department officers arrested

nearly 100 people as they cleared the campus encampment.149 The university asked police to maintain

a presence on campus through at least May 17, two days after the scheduled graduation ceremony.150

Columbia also began suspending students who refused to leave the encampment.151 At Tulane, New

Orleans Police activated SWAT and approached an encampment in the middle of the night “with guns

drawn” to clear it.152 Officers arrested 14 people, only two of whom were students at Tulane.153 At the


147  Where Protesters on U.S. Campuses Have Been Arrested or Detained, THE NEW YORK TIMES (July 22, 2024),
https://www.nytimes.com/interactive/2024/us/pro-palestinian-college-protests-encampments.html.
148 Isabelle Taft et al., Campus Protests Led to More than 3,100 Arrests, but Many Charges Have Been Dropped, THE NEW YORK

TIMES (July 21, 2024), https://www.nytimes.com/2024/07/21/us/campus-protests-arrests.html.
149 Nearly 100 people arrested at Columbia, NYPD says after clearing Hamilton Hall, NBC NEWS (Apr. 30, 2024),

https://tinyurl.com/yf7ykhvs.
150 Id.
151 Isa Farfan et al., Protestors take over Columbia University building hours after school starts suspending student demonstrators, NBC

NEWS (Apr. 29, 2024), https://tinyurl.com/em4ysm2n.
152 Anum Siddiqui, SWAT, NOPD officers pour onto Tulane’s campus overnight, move encampment, WDSU NEWS (May 2, 2024),

https://tinyurl.com/bp5zc97d.
153 Id.


                                                                  22
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 29 of 55



University of Southern California, over 100 police officers approached in riot gear to surround the

campus encampment, arresting 93 people on April 24.154 And at the UCLA, police arrested more than

200 protestors while ripping apart the encampment’s barricade of plywood, pallets, metal fences and

dumpsters.155 Most were cited for unlawful assembly but some for assault with a deadly weapon.156

VI.       The University Defendants Revise their Campus Policies.

          Only after Plaintiffs disbanded their encampments and students left for the summer did the

University Defendants begin revising their written policies in response to GA-44. The University

Defendants each maintained content-neutral time, place, and manner policies regulating speech and

assembly on campus prior to GA-44,157 specific anti-disruption provisions,158 and policies prohibiting

harassment and discrimination.159 The University Defendants overwhelmingly responded to GA-44

by incorporating a definition of antisemitism into their pre-existing policies.

          A.        The University of Texas System.

          The University of Texas System Board of Regents (“UT System Board”) holds plenary

authority over all component institutions within the UT System, including UT Austin, UTSA, and

UTD.160 UT Austin President Jay Hartzell—like all university presidents within the UT System—holds

general authority and responsibility for the administration of UT Austin under the supervision and


154 Tim Caputo, Police clear out pro-Palestinian encampment at USC after university issues warning to protesters, ABC 7 (May 5, 2024),

https://tinyurl.com/3794r92z.
155 Marc Cota-Robles et al., Police clear pro-Palestinian encampment at UCLA, arrest more than 200 protesters, ABC 7 (May 2, 2024),

https://tinyurl.com/2erunveu.
156 Id.
157 See generally UT AUSTIN UNIVERSITY CATALOG, APPENDIX C: INSTITUTIONAL RULES ON STUDENT SERVICES AND

ACTIVITIES         [henceforth,       “UT       Austin        Institutional    Rules”],       https://catalog.utexas.edu/general-
information/appendices/appendix-c/, Chapter 13. Speech, Expression, and Assembly; UTD HANDBOOK OF OPERATING
PROCEDURES [henceforth, “UTD HOP”], https://policy.utdallas.edu/, Speech Expression and Assembly - UTDSP5001;
UTSA HANDBOOK OF OPERATING PROCEDURES [henceforth, “UTSA HOP”], https://www.utsa.edu/hop/, Chapter
9.37 Peaceful Public Assembly; UH MANUAL OF ADMINISTRATIVE POLICIES AND PROCEDURES [henceforth, “UH MAPP”],
https://www.uh.edu/policies/mapps/, § 01.05.01 – Freedom of Expression.
158 UT Austin Institutional Rules, §§ 6-404(18), 11-402(15), 13-206, 13-301; UTD HOP, §§ UTDSP5001(C.10),

UTDSP5003(C.9.14) & (C.9.18); UTSA HOP, § 9.37(III.A); UH MAPP, §§ 01.D.15(3.4) & (4.1).
159 UT Austin Institutional Rules, §§ 11-402(9), 13-204; UTD HOP, §§ UTDSP5003(C.9.6), UTDBP3090(C.1) & (C.2); UTSA

HOP, §§ 9.01, 9.37(IV); UH MAPP, § 01.D.07.
160 University of Texas System Board of Regents Rule 10101: Board Authority and Duties (Sep. 25, 2018) [henceforth, “UT System

Rules”], https://www.utsystem.edu/board-of-regents/rules/10101-board-authority-and-duties.

                                                                 23
             Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 30 of 55



direction of the Chancellor and Executive Vice Chancellor.161 Similarly, UTSA President Taylor

Eighmy holds general responsibility for, and control over, “[UTSA’s] educational, administrative, and

fiscal programs and services.”162

           The UT System Office of General Counsel directed all UT System institutions to amend their

speech policies to comply with GA-44.163 After receiving guidance from the UT System, UT Austin,164

UTD,165 and UTSA166 revised their written campus policies to incorporate the definition of

antisemitism provided by Texas Government Code § 448.001(2). None of these written policies

prohibit students or student organizations from the simple expression of any message because of the

content or viewpoint expressed.

           UTSA’s Dean of Students L.T. Robinson took the step of urging civility in discourse by asking

students not to chant the slogan “from the river to the sea, Palestine will be free” prior to a protest.

But UTSA never codified such a rule prohibiting students from the simple expression of their desired

message, and indeed the revision to written campus policies in response to GA-44 that UTSA later

published did not include such a statement.167 And in any event, students’ use of this slogan continued

unabated, without any discipline by UTSA or referral to law enforcement.168

           As of June 7, UTSA no longer requests that students refrain from using the phrase, never

disciplined students for ignoring any such request, has no intention of doing so in the future, and

acknowledges that GA-44 does not prohibit the simple use of the phrase or require universities to

independently prohibit it.169 UTSA’s anti-disruption and anti-discrimination policies have simply never



161 UT System Rules, § 20201(4),
162 UTSA HOP, § 1.01.
163 Declaration of Katie McGee, ¶ 47.
164 Declaration of Brenda Schumann, ¶¶ 4–5; see also UT Austin Institutional Rules, §§ 13-206, 6-404(11), 11-402(9).
165 Declaration of Amanda Smith, ¶¶ 5–10; see also UTD HOP, §§ UTDSP5001(A.3.20) (L.49.8), (L.49.9).
166 Declaration of LaTonya Robinson, ¶¶ 8-16; see also UTSA HOP §§ 9.37(IV.B), (IV.C), & (XIX.B).
167 Id., ¶¶ 8, 15–16.
168 Id., ¶ 16.
169 Id. ¶¶ 8, 15–16.


                                                               24
               Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 31 of 55



been enforced based upon the simple use of the phrase “from the river to the sea, Palestine will be

free.”170

            B.     The University of Houston System.

            The University of Houston System Board of Regents (“UH System Board”) holds plenary

authority over UH and its policy direction,171 and Renu Khator, as President and Chancellor of UH,

is responsible for the general management and operation of the university.172 UH Vice Presidents,

rather than President Khator, are specifically responsible for enforcing compliance with policies within

their area of oversight.173

            The UH System Board revised UH’s Anti-Discrimination Policy on May 23,174 and its Freedom

of Expression policy on May 30,175 incorporating Texas Government Code § 448.001(2)’s antisemitism

definition.176 UH’s revised policies do not prohibit students or student organizations from the simple

expression of any message because of the content or viewpoint expressed. Tents and encampments

were not permitted on campus grounds under UH’s polices, which also do not permit amplified sound

at Butler Plaza.177

VII.        Plaintiffs’ Request for Injunctive Relief.

            Plaintiffs are nominally four separate organizations claiming membership at Texas universities:

Students for Justice in Palestine at UH (“SJP-UH”), Students for Justice in Palestine at UTD (“SJP-

UTD”), the Palestine Solidarity Committee at UT Austin (“PSC-UT”), and the Democratic Socialists


170 Id. ¶ 9.
171 §§ 01.01.3, 01.01.5, UNIVERSITY OF HOUSTON SYSTEM BOARD OF REGENTS POLICIES (Apr. 24, 2023) [henceforth,

“UH System Rules”], https://uhsystem.edu/board-of-regents/policies/_files/bor-policies-8-24-23.pdf; Section 1:
Authority and Responsibility of Governing Board, UNIVERSITY OF HOUSTON BOARD OF REGENTS BYLAWS (May 15, 2024)
[henceforth, “UH System Bylaws”], https://uhsystem.edu/board-of-regents/bylaws/index.php.
172 UH System Rules, §§ 02.01, 02.02.
173 UH MAPP, § 01.01.01(VII.B).
174 UH MAPP, § 01.D.07.
175 § 01.D.15 (Freedom of Expression – System) UH SYSTEM ADMINISTRATIVE MEMORANDUMS [henceforth, “UH

SAM”], https://uhsystem.edu/resources/compliance-ethics/uhs-policies/sams/index.php; UH MAPP, § 01.05.01.
176 Meeting of the University of Houston System Board of Regents (May 15, 2024), 5:30:10 – 5:33:03,

https://uh.edu/infotech/services/streaming-media/events/bor/2024-05/.
177 Declaration of Donell Young, ¶¶ 5–6, 14; see also UH SAM, § 01.D.15, UH MAPP, § 01.05.01.


                                                      25
                 Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 32 of 55



of America (“DSA”). Plaintiffs sue Governor Abbott in his official capacity, UH, the UH System

Board and its members in their individual and official capacities, UH President and Chancellor Khator

in her individual and official capacity, the UT System Board and its members in their individual and

official capacities, UTSA President Eighmy in his individual and official capacity, and UT Austin

President Hartzell in his individual and official capacity pursuant to 42 U.S.C. § 1983.178

           Plaintiffs allege that GA-44 impermissibly prohibits them from advocating for Palestinians,

criticizing Israel, or using the phrase “from the river to the sea, Palestine will be free,”179 and ask the

Court to enjoin Defendants from enforcing GA-44 and any practice or policies adopted in furtherance

of it,180 apparently including lawful applications of the order.

           Plaintiffs specifically ask the Court to enjoin Defendants from adopting any rule or policy that

(a) forbids students from using the phrase “from the river to the sea, Palestine will be free;” (b)

“define[s] as bigoted the typical criticisms and historical comparisons students make about foreign

countries when those criticisms are made about Israel;” and (c) “singl[es] out for punishment [SJP],

[PSC], or any organization that is critical of Israel and supports the rights of Palestinians.”181 Plaintiffs

also ask the Court to enjoin President Eighmy from enforcing any policy at UTSA forbidding students

from simple use of the expression “from the river to the sea, Palestine will be free,” and Chancellor

and President Khator from enforcing UH’s “new policies that seek to comport with GA-44, including

the changes made to UH Systems’ free expression policies by the Board of Regents.”182

           Plaintiffs provide inadequate support for their motion. Their affiants claim that Plaintiffs’

protests and encampments did not violate university anti-disruption policies, but provide no basis for

their supposed knowledge on these points.183 While Defendants do not dispute that the Court may


178 See generally ECF 20.
179 ECF 21, pp. 1, 18.
180 ECF 21-10.
181 Id., pp. 1–2.
182 Id., p. 2.
183 See generally ECF 21-2 through ECF 21-6.


                                                     26
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 33 of 55



consider evidence at the preliminary injunction stage that would be inadmissible at later stages,184

including affidavits which do not measure up to the standards required under Fed. R. Civ. P.

56(c)(4),185 it cannot be that a party may rely on evidence or testimony lacking any foundation at all.186

And if Plaintiffs’ affiants have a foundation for many of their contentions, they certainly have not

shown it. Thus, while Plaintiffs’ claims never made much sense as allegations, they are even more

incoherent when considering the factual record of what actually occurred this past spring on university

campuses across the country and at the University Defendants’ campuses.

          Plaintiffs identify no language in GA-44’s operative clauses requiring universities to regulate

speech based on discussion of a particular topic or adoption of any viewpoint—rather, it only calls on

universities to exercise their independent judgment on how best to address antisemitism on campus.

Plaintiffs also do not explain how GA-44 applies to them. By its own terms, the order instructs

universities to address antisemitism through their policies; not to apply GA-44 itself to any protestors.

It is true that GA-44 instructs universities to incorporate the definition of antisemitism in Texas

Government Code § 448.001(2), but federal law has required universities to consider IHRA’s working

definition of antisemitism and contemporary examples since 2019.187

          Nor do Plaintiffs point to a written policy adopted by any of the University Defendants which

discriminates against students wishing to advocate for Palestinians or against Israel. Plaintiffs say they

challenge both “[Governor] Abbott’s executive order and the campus actions taken in furtherance of

it,”188 but they did not separately challenge the University Defendants’ written polices in their

Amended Complaint. Plaintiffs also do not provide any basis in their motion for claiming that those


184 Federal Sav. & Loan Inss. Corp. v. Dixon, 835 F.2d 554, 558 (5th Cir. 1987).
185 11A Wright & Miller, Federal Prac. & Proc. Civ. § 2949 at 471 (3d ed.).
186 See Fed. R. Evid. 901(a) & (b); see also Fed. R. Evid. 602.
187   Executive Order 13899 (Combating Anti-Semitism), 84 Fed. Reg. 68779 (Dec. 11, 2019),
https://www.federalregister.gov/documents/2019/12/16/2019-27217/combating-anti-semitism; see also Religious
Discrimination at School: Application of Title VI of the Civil Rights Act of 1964, CONGRESSIONAL RESEARCH SERVICE (Mar. 22,
2024), https://crsreports.congress.gov/product/pdf/LSB/LSB11129.
188 ECF 21, p. 5.


                                                                  27
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 34 of 55



written policies are themselves unconstitutional, or that the policies must cease to function in the

event that the Court enjoined any official from enforcing GA-44. Plaintiffs single out UTSA, but its

policies include no provision prohibiting students from saying “from the river to the sea, Palestine

will be free.”189 and its officials have no demonstrated willingness to enforce any prior “rule” (as

Plaintiffs improperly call it) to that effect.190

          Ultimately, even had Plaintiffs come forward with evidence supporting their outlandish

contention that any of the University Defendants applied GA-44 to end their Mid-2024 Protests,

Plaintiffs still fail to establish a likelihood of success on the merits of their claims of First Amendment

violations. Under Tinker, it was reasonable for the University Defendants to forecast substantial

disruption to their educational missions and operations given the national landscape, where other

universities that permitted similar events suffered the extreme disruptions that campus agitators

intended. Therefore, the University Defendants did not violate the First Amendment.

                                                STANDARD OF REVIEW

          A preliminary injunction is an “extraordinary and drastic remedy,”191 and “[t]he decision to

grant a preliminary injunction is to be treated as the exception rather than the rule.”192 “[E]specially

where governmental action is involved, courts should not intervene unless the need for equitable relief

is clear, not remote or speculative.’”193

          To obtain a preliminary injunction, the moving party must show: “(1) a substantial likelihood

of success on the merits, (2) a substantial threat of irreparable harm if the injunction does not issue,

(3) that the threatened injury outweighs any harm that will result if the injunction is granted, and (4)



189 Declaration of LaTonya Robinson, ¶¶ 8-16; see also UTSA HOP §§ 9.37(IV.B), (IV.C), & (XIX.B).
190 Declaration of LaTonya Robinson, ¶¶ 8-16.
191 Munaf v. Geren, 553 U.S. 674, 689–90 (2008); see also Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047, 1050 (5th Cir.

1997) (“The grant of injunctive relief is an extraordinary remedy which requires the movant to unequivocally show the
need for its issuance.”).
192 Miss. Power & Light Co. v. United Gas Pipe Line Co., 760 F.2d 618, 621 (5th Cir. 1985).
193 Machete Prods., L.L.C. v. Page, 809 F.3d 281, 288 (5th Cir. 2015) (quoting Eccles v. Peoples Bank, 333 U.S. 426, 431 (1948)).


                                                              28
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 35 of 55



that granting the injunction is in the public interest.”194 In the First Amendment context, if a plaintiff

shows that the challenged action “represents a substantial threat to his First Amendment rights,” then

the ”substantial threat of irreparable injury” prong is satisfied.195 Likewise, a strong showing on the

merits of a First Amendment claim will satisfy the “public interest” prong.196 As against government

defendants, the third and fourth factors merge.197

                                                           ARGUMENT

          This Court has found that an even shorter delay than that of Plaintiffs’ in seeking a preliminary

injunction justified denying such a request.198 Nevertheless, whether a preliminary injunction is

warranted here turns first and foremost on which side is likely to succeed on the merits.199 The merits

inquiry implicates both the jurisdictional deficiencies in Plaintiffs’ Amended Complaint200 and the

“substance” of Plaintiffs’ challenge to GA-44.201 To this end, Defendants provided the Court

considerable evidence showing that SJP and PSC protests violated the University Defendants’ own

content-neutral time, place, and manner rules, and were disruptive and likely to create a severe,

pervasive, and objectively offensive discriminatory environment toward Jewish students. But by

comparison, Plaintiffs gave the Court little to work with. Three factual deficiencies stand out.

          First, Plaintiffs offer no evidence showing that the University Defendants enforced GA-44

against them to end their Mid-2024 Protests.202 Rather, they ask the Court to simply take their word


194 Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 640–41 (5th Cir. 2023).
195 Ingebretsen ex rel. Ingebretsen v. Jackson Pub. Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996); see Elrod, 427 U.S. at 373.
196 Texans for Free Enter. v. Tex. Ethics Comm’n, 732 F.3d 535, 539 (5th Cir. 2013).
197 Nken v. Holder, 556 U.S. 418 (2009).
198 See Embarcadero Tech., Inc. v. Redgate Software, Inc., No. 1:17-cv-444-RP, 2017 WL 5588190, *3–4 (W.D. Tex. Nov. 20,

2017) (Pitman, J.) (denying a request for a preliminary injunction where plaintiffs learned all facts forming the basis for
their claims by April 2017, filed a complaint on May 11, but did not apply for a preliminary injunction until June 12).
199 See, e.g., Mock v. Garland, 75 F.4th 563, 577 (5th Cir. 2023) (“The government’s and the public’s interests merge when

the government is a party.”).
200 NAACP v. Tindell, 95 F.4th 212, 216 (5th Cir. 2024) (explaining that the Court cannot enter an injunction if it lacks

jurisdiction).
201 Infra, pp. 31–46.
202 Defendants contend that Plaintiffs cannot show that GA-44 was the moving force behind any of the University

Defendants’ responses to Plaintiffs’ protests, but do not dispute that UTSA officials previously interpreted GA-44 to


                                                                  29
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 36 of 55



for it that the University Defendants’ responses were improperly motivated by a desire to silence pro-

Palestinian or anti-Israel speech.203 Second, Plaintiffs do nothing to show that the University Defendants

were wrong to think that Plaintiffs intended to disrupt their campuses. In fact, disruption was the

point.204 Third, although the University Defendants based their campus responses on the application

of content-neural time, place, and manner university rules and protestors’ disruption of campus,

Plaintiffs also do nothing to show that the University Defendants would have been wrong to believe

that protestors might create a severe, pervasive, and objectively offensive antisemitic environment.

After all, the University Defendants were aware of the environment protestors created elsewhere and

had previously responded to antisemitic incidents on their own campuses.205

I.        Plaintiffs are Unlikely to Succeed Because Their Claims are Nonjusticiable.

          As an initial matter, the Court cannot enter an injunction if it lacks jurisdiction.206 Plaintiffs’

claims are nonjusticiable for the reasons explained in Defendants’ motion to dismiss,207 which is filed

alongside this response. Even before addressing the merits, it is obvious that Plaintiffs cannot succeed

because they lack standing and because sovereign immunity bars their official-capacity claims.

          Five jurisdictional defects undermine Plaintiffs’ request for injunctive relief: (1) Plaintiffs’

focus on GA-44, which has no connection to their alleged injuries;208 (2) Plaintiffs did not challenge

the university policies that independently were applied;209 (3) the Defendants that Plaintiffs sued are




require UTSA to prohibit Plaintiffs from saying “from the river to the sea, Palestine will be free.” See generally Declaration of
LaTonya Robinson.
203 ECF 21, pp. 3–4.
204 Supra, pp. 7–9.
205 See, e.g., Declaration of Kelly Soucy, ¶ 12; Declaration of Paul Kittle, ¶ 4; Declaration of Adam Perry, ¶ 13; Declaration of LaTonya

Robinson, ¶¶ 7(q), 8.
206 Tindell, 95 F.4th at 216.
207 ECF 31.
208 See, e.g., Leal v. Becerra, No. 21-10302, 2022 WL 2981427, at *2 (5th Cir. July 27, 2022); see also Tex. State LULAC v.

Elfant, 52 F.4th 248, 255–56 (5th Cir. 2022); Reagan Nat'l Advert. of Austin, Inc. v. City of Cedar Park, No. 20-50125, 2021 WL
3484698, at *3 (5th Cir. Aug. 6, 2021).
209 See Ctr. for Individual Freedom v. Carmouche, 449 F.3d 655, 659 (5th Cir. 2006).


                                                                  30
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 37 of 55



not proper enforcement officers under Ex parte Young;210 (4) DSA cannot establish standing because

its mission of establishing socialism in America has nothing to with armed conflict in the Middle East

between Israel and Hamas;211 and (5) as to UTSA, campus officials at UTSA have no demonstrated

willingness to enforce a prior unwritten “rule” (as Plaintiffs improperly call it) barring simple

expression of Plaintiffs’ preferred slogan.212 Taken together, these issues defeat jurisdiction.

II.       Plaintiffs Did Not Assert a Viable First Amendment Challenge.

          Plaintiffs commit four main errors on the merits in their preliminary injunction motion. First,

they overlook alternative interpretations of GA-44 that would avoid any constitutional issues.213 Second,

none of the University Defendants ever applied GA-44 to restrict their speech.214 Third, Plaintiffs’ First

Amendment claims relate only to the application of GA-44 by University Defendants, and they did

not bring any stand-alone First Amendment claim relating to what the University Defendants actually

did—apply their content-neutral time, place, and manner policies to end campus disruption.215 And

finally, even if the Court were to construe any of the University Defendants’ policies or actions as


210 Mi Familia Vota v. Abbott, 977 F.3d 461, 467–68 (5th Cir. 2020) (finding that Governor Abbott was not the enforcement

officer for his executive orders as the “statutory authority . . . to issue, amend or rescind an Executive Order is not the
power to enforce it”) (quotations omitted); Tex. Democratic Party v. Abbott, 978 F.3d 168, 179 (5th Cir. 2020) (citation
omitted).
211 El Paso Cnty., Tex. v. Trump, 982 F.3d 332, 344 (5th Cir. 2020) (quotations omitted); see also Louisiana Fair Hous. Action

Ctr., Inc. v. Azalea Garden Properties, L.L.C., 82 F.4th 345, 353 (5th Cir. 2023) (“[T]he perceptible impairment to an
organization's ability to carry out its mission . . . is the concrete and demonstrable injury for organizational standing.”)
(cleaned up); Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) (noting that “a setback to the organization's abstract
social interests” is insufficient to create organizational standing); Military-Veterans Advocacy v. Sec'y of Veterans Affairs, 7 F.4th
1110, 1129 (Fed. Cir. 2021) (“[The organization’s] injury . . . cannot be merely ideological, meaning that damage to the
‘special interest’ of an organization does not qualify as an injury in fact; otherwise, ‘there would appear to be no objective
basis upon which to disallow a suit by any other bona fide ‘special interest’ organization, however small or short-lived.’”)
(quoting Sierra Club v. Morton, 405 U.S. 727, 739 (1972)).
212 Compare Declaration of LaTonya Robinson, ¶¶ 8–16, with Mi Familia Vota v. Ogg, 105 F.4th 313, 330–31 (5th Cir. 2024)

(finding no demonstrated willingness to enforce a law where the defendant stipulated that she would not do so).
213 Infra, pp. 31–33.
214 Supra, pp. 12–20.
215 Such a claim does not appear on the face of the complaint or in the briefing submitted on the motions. But out of an

abundance of caution, were the court to construe the Amended Complaint to include such a claim, the University
Defendants did not violate the First Amendment because their policies are content-neutral time, place, and manners
regulations and satisfy the lower standard for such rules. See Clark v. Community for Creative Non-Violence, 468 U.S. 288, 293–
94 (1984) (merging time, place, and manner inquiry and inquiry under United States v. O’Brien, 391 U.S. 367, 376 (1968)).
And moreover, even if the Court were to find that any of the University Defendants’ applications of their rules were
content-based, those actions nonetheless would be valid under Tinker’s “substantial disruption” and “rights of others”
tests. See Tinker, 393 U.S. at 513.

                                                                 31
             Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 38 of 55



content-based applications of GA-44, or in any other respect, the Tinker standard applies, under which

the universities actions did not violate the First Amendment under that standard because they

reasonably expected substantial disruption.216

           A.       Plaintiffs’ Ignore the Constitutional-Avoidance Canon in Interpreting GA-44.

           “Under the constitutional-avoidance canon, when statutory language is susceptible of multiple

interpretations, a court may shun an interpretation that raises serious constitutional doubts and instead

may adopt an alternative that avoids those problems.”217 Plaintiffs’ challenge to GA-44 runs headfirst

into this canon as they eschew alternative interpretations of GA-44 that would avoid any constitutional

issues. In short, Plaintiffs base their challenge to GA-44 on their interpretation that it (1) has been,

and will be, enforced against them218 and (2) contains content- and viewpoint-based speech

restrictions.219 Yet GA-44 does not restrict the content or viewpoint of students’ speech. Nor is it

independently enforceable.

           Rather, GA-44 merely requires universities to “[r]eview and update” their speech policies due

to the rise in antisemitism and “[e]nsure that these policies are being enforced on campus.”220 There

are various ways this can be done without touching the First Amendment’s guardrails. One obvious

choice would be to ensure that content-neutral policies, such as those regulating disruptive activity on

campus (like encampments and blockades),221 are being evenly enforced.222 Another would be to




216 Infra, pp. 36–41.
217 Jennings v. Rodriguez, 583 U.S. 281, 286 (2018).
218 See, e.g., ECF 21, pp. 7, 14–15.
219 Id., p. 14.
220 ECF 21-1.
221 UT Austin Institutional Rules, §§ 6-404(18), 11-402(15); UTD HOP, §§ UTDSP5001(C.10), UTDSP5003(C.9.14) &

(C.9.18); UTSA HOP, § 9.36(III.A); UH SAM, §§ 01.D.15(3.4) & (4.1).
222 See, e.g., Clark, 468 U.S. at 297 (“We have difficulty . . . in understanding why the prohibition against camping, with its

ban on sleeping overnight, is not a reasonable time, place, or manner regulation that withstands constitutional scrutiny.”);
Healy v. James, 408 U.S. 169, 188–89 (1972) (“Associational activities need not be tolerated where they infringe reasonable
campus rules, interrupt classes, or substantially interfere with the opportunity of other students to obtain an education.”).

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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 39 of 55



enforce current university policies that cover non-protected speech, such as speech that incites

violence or imminent lawless action.223

          Plaintiffs make hay out of the fact that GA-44 focuses on antisemitism. But nothing in GA-

44 says that universities should only protect Jewish students, to the exclusion of all other protected

classes, on their campuses. That would be ridiculous. And to be clear, Jewish students faced the

overwhelming brunt of attacks following October 7. Public facts support this.224 There is nothing

constitutionally unsound with Governor Abbott focusing on the community most suffering during

this trying period, just as there is nothing wrong with the fire department driving by your lightly singed

yard to put out a fire raging at your neighbor’s house. Some things are more urgent than others.

          This leaves GA-44’s provision that universities must include a “definition of antisemitism” in

their free speech policies.225 This is not independently enforceable. Indeed, GA-44 specifies that this

definition is merely meant as a “guide” to students and faculty “on what constitutes antisemitic

speech.”226 The First Amendment does not bar government from teaching others about what state

law has to say about antisemitism.227 And this new definition of antisemitism did not bring in any

speech not otherwise covered by the University Defendants’ pre-existing policies which, of course,

already restricted a wide array of discriminatory speech.228

          In sum, Plaintiffs challenge to GA-44 is dead on arrival due to the constitutional-avoidance

canon. Thus, this claim should be dismissed. Below, Defendants detail the numerous factual and legal

problems with Plaintiffs’ challenge to GA-44, which are equally fatal to this lawsuit.

          B.          Plaintiffs’ As-Applied and Facial Challenges to GA-44 Lack Merit.

          There are two prongs to Plaintiffs’ challenge to GA-44. First, Plaintiffs contend that GA-44


223 See, e.g., UT Austin Institutional Rules, §§ 13-203, 13-206(b).
224 Supra, pp. 4–9.
225 ECF 21-2, p. 3.
226 Id.
227 See, e.g., Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 469 (2009).
228 Supra, notes 157–59.


                                                                 33
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 40 of 55



was applied against them to limit their Mid-2024 Protests229 and will be used against them if they

engage in similar protests in the future.230 The facts indisputably show that the University Defendants

did not apply GA-44 to campus protests.231 And second, Plaintiffs argue that GA-44 violates the First

Amendment “on its face.”232 But whether the Court finds that GA-44 applies to Plaintiffs or not,

Plaintiffs’ as-applied and facial challenges to GA-44 are meritless.

          1.        Plaintiffs Cannot Succeed on their As-Applied Challenge.

          Officials at each of the University Defendants gave sworn statements showing that they did

not apply GA-44 to end Plaintiffs’ Mid-2024 protests.233 Plaintiffs do not assert any evidence

supporting their contrary view for UT Austin, UTD, or UH. Plaintiffs lean on the fact that, at UTSA,

Dean Robinson previously asked students to refrain from using a favored slogan, but even they appear

to recognize that, when she did so, she was not applying GA-44. After all, DSA brought a standalone

claim against President Eighmy relating to UTSA’s prior request to students.234

          Plaintiffs also do not dispute that the University Defendants revised their written campus

policies after Plaintiffs’ Mid-2024 Protests ended. They nonetheless ask the Court to find, against the

weight of evidence, that the University Defendants’ did not apply content-neutral time, place, and

manner policies to Plaintiffs’ protests but rather applied GA-44 itself.235 Plaintiffs offer the Court no

evidence236 to support their conjecture.




229 ECF 21, pp. 9–13, 15; ECF 21-2, ¶ 8; 21-3, ¶ 9; 21-4, ¶ 9.
230 ECF 21, pp.14–16.
231 Supra, pp. 12-20.
232 ECF 21, pp. 21.
233 Declaration of Kelly Soucy, ¶¶ 36, 44; Declaration of Amanda Smith, ¶¶ 9, 18–20, Ex. C; Declaration of Adam Perry, ¶¶ 9–11, 20;

Declaration of Donell Young, ¶¶ 12–15; Declaration of Paul Kittle, ¶¶ 6–12; Declaration of LaTonya Robinson, ¶¶ 8–16.
234 ECF 20, ¶¶ 98–106.
235 ECF 21, pp. 6–7.
236 Plaintiffs exhibits provide no factual basis for concluding that the University Defendants actions to enforce their

campus anti-disruption policies relates to GA-44. See generally ECF 21-2 through 21-9.

                                                               34
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 41 of 55



               a.       GA-44 is Not the Moving Force behind any of Plaintiffs’ Alleged Injuries.

          To sustain an official-capacity claim under 42 U.S.C. § 1983, Plaintiffs were required to

establish that a law or policy was the moving force behind a First Amendment deprivation.237 This

issue turns on the complicated relationship between § 1983 and state officials/entities.

          § 1983 provides a cause of action against a “person” who, acting “under color of any statute,

ordinance, regulation, custom, or usage,” deprives another of “any rights privileges, or immunities

secured by the Constitution and laws.”238 When a state official is sued in his official capacity for

prospective relief, courts consider him to be “a person under § 1983 because ‘official-capacity actions

for prospective relief are not treated as actions against the State.’”239 Although the state official is

considered a “person” under this legal fiction, the real person in interest is the state itself.240 As the

Supreme Court explained in Hafer v. Melo: “Because the real party in interest in an official-capacity suit

is the governmental entity and not the named official, ‘the entity’s policy or custom must have played

a part in the violation of federal law.’”241

          Plaintiffs claim that Governor Abbott “aimed to extinguish from public campuses a viewpoint

critical of Israel and supportive of Palestinians” and that he “wages a more than half decades long

effort to suppress viewpoints critical of one particular foreign country.”242 In an effort to prop up this

claim, Plaintiffs reference some of Governor Abbott’s past efforts to address antisemitism,243 but to



237 See Johnson v. Rodriguez, 110 F.3d 299, 312 (5th Cir. 1997) (“Because this is an official capacity lawsuit, it is a condition

precedent to liability under section 1983 that the challenged conduct of the individual Board members be tied to an official
Board custom or policy, formal or informal.”); see also Los Angeles County, Cal. v. Humphries, 562 U.S. 29, 31 (2010)
(reaffirming that § 1983’s “‘policy or custom’ requirement . . . applies when plaintiffs seek prospective relief, such as an
injunction or a declaratory judgment”); Rivera v. Houston Indep. Sch. Dist., 349 F.3d 244, 247 (5th Cir. 2003) (identifying §
1983’s causation element as requiring the policy or custom to be the “moving force” behind the alleged violation of
constitutional rights).
238 42 U.S.C. § 1983.
239 See Will v. Michigan Dep’t of State Police, 491 U.S. 58, at 71 n.10 (1989) (quoting Kentucky v. Graham, 473 U.S. 159, 167 n.14

(1985)).
240 Hafer v. Melo, 502 U.S. 21, 25 (1991).
241 See id. (quoting Graham, 473 U.S. at 166) (quotations omitted).
242 Dkt. 1, ¶¶ 13, 35, 75.
243 Id., ¶¶ 16-33.


                                                               35
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 42 of 55



prevail on their as-applied challenge, Plaintiffs must establish that GA-44, on its face,244 was the

“moving force” behind the alleged constitutional violations.245 Plaintiffs fail to support this point. GA-

44 did not “cause” Plaintiffs’ injuries stemming from the Mid-2024 Protests and could not have

because it does not apply to them—it applies to Texas public universities only.

          Plaintiffs’ as-applied challenge raises a broader question: How exactly could GA-44 be

“applied” against them in any meaningful way? The order carries no penalties. And no student or

organization can be disciplined for violating “GA-44.” Any sanctions imposed on a student by a

university would be based on its own policies. And any as-applied First Amendment challenges in this

context would be fact-specific, turning on the policy’s language, how the university interpreted it, and

what exactly the plaintiffs intended to say and do.

          Plaintiffs needed to lay a foundation detailing how Defendants applied GA-44 to them to

sustain their as-applied claim. Yet, they provide no competent evidence showing that GA-44 has been

applied to them, and no basis for believing it ever will be. Their as-applied claim fails.

               b.        Even if any University Defendant had Applied Content- or Viewpoint-Based Policies, It
                         Would Not Have Violated the First Amendment under Tinker.

          While the University Defendants reiterate that it was their content-neutral time, place, and

manner restrictions that drove their responses, even if the Court were to agree with Plaintiffs that one

or more University Defendants did apply GA-44 to act in a content- or viewpoint-based manner, such

University Defendant’s actions can be upheld under the Tinker standard.

          Plaintiffs say the University Defendants reacted to their protests how Governor Abbott asked

them to by ending Plaintiffs’ “peaceful” events with force and arrests. Plaintiffs thus insinuate that it

is irrelevant precisely when the University Defendants revised their written policies, or even whether


244 See Reed v. Town of Gilbert, 576 U.S. 155, 165 (2015) (“[T]his analysis skips the crucial first step in the content-neutrality

analysis: determining whether the law is content neutral on its face.”).
245 See, e.g., Simmons v. City of Columbus, 425 F.App’x. 282, 284 (5th Cir. 2011); see also Ctr. for Individual Freedom, 449 F.3d at

659.

                                                                36
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 43 of 55



those policies were content-neutral time, place, and manner regulations, because—so Plaintiffs say—

Defendants applied GA-44 itself to end their protests.

          As shown above, this is plainly untrue, but it would not matter if it were not. Tinker governs

the First Amendment analysis here—as explained in more detail in Defendants’ motion to dismiss.246

In Tinker v. Des Moines Indep. Cmty. Sch. Dist., the Supreme Court held that school officials may prohibit

student speech upon showing “facts which might reasonably have led school authorities to forecast

[that the proscribed speech would cause] substantial disruption of or material interference with school

activities.”247 The Court also stated that acts constituting an “invasion of the rights of others is . . . not

immunized by the [First Amendment].”248 The Fifth Circuit and many other courts have applied Tinker

to First Amendment cases involving college students.249

          Even entertaining for the sake of argument Plaintiffs’ allegations that one or more of the

University Defendants applied a content- or viewpoint-based rule or policy when ending their protests

(they did not), Defendants were within their rights under Tinker to restrict those protests because the

events were substantially disruptive. Also, the University Defendants could have restricted Plaintiffs’

Mid-2024 Protests to protect Jewish students from severe and pervasive discrimination interfering

with their rights, which is separately discussed below when addressing Plaintiffs’ facial challenge.

                    i.         GA-44 is Constitutional Under Tinker’s “Substantial Disruption” Prong.

          To justify a speech restriction under Tinker, the school official must be able to point to “a


246 ECF 31; see Morgan v. Plano Indep. Sch. Dist., 589 F.3d 740, 745 (5th Cir. 2009) (“We have made plain that ‘time, place,

and manner’ is the proper standard for evaluating content and viewpoint neutral regulations of student speech and that
when a school imposes content or viewpoint based restrictions the court will apply Tinker.”) (citation omitted); see also
Esfeller v. O'Keefe, 391 F.App’x. 337, 341 (5th Cir. 2010); Morgan v. Swanson, 659 F.3d 359, 402 (5th Cir. 2011); Canady v.
Bossier Par. Sch. Bd., 240 F.3d 437, 442 (5th Cir. 2001).
247 393 U.S. at 514.
248 Tinker, 393 U.S. at 513. Texas law also requires that an institution of higher education shall permit expression so long

as it is not unlawful and “does not materially and substantially disrupt the functioning of the institution.” Tex. Educ. Code
§ 51.9315(c)(2).
249 See Esfeller, 391 F.App’x. at 341–42; Shamloo v. Mississippi State Bd. of Trustees of Institutions of Higher Learning, 620 F.2d 516,

521–24 (5th Cir. 1980); see also Daniel B. Dreyfus, A Common Judicial Standard for Student Speech Regulations, 102 Tex. L. Rev.
1059, 1075 (2024) (citing circuit court cases that applied on confirmed Tinker’s applicability to First Amendment cases
involving universities).

                                                                  37
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 44 of 55



specific and significant fear of disruption, not just some remote apprehension of disturbance.”250 And

the official cannot restrict a student’s speech merely “to avoid the discomfort and unpleasantness that

always accompany an unpopular viewpoint.”251 Defendants explored four cases in their motion

dismiss where courts upheld schools’ speech regulations under Tinker’s “substantial disruption”

prong.252 There are four key takeaways from those cases.

          First, none of these cases involved First Amendment activity that actually led to the school

cancelling class, or even imminently would lead to such a disruption. The courts still upheld the First

Amendment restriction under Tinker.

          Second, much of the evidence presented was, by itself, relatively mild. Yet schools could still

use this evidence to justify their First Amendment restriction. The Fifth Circuit specifically addressed

this point in A.M. ex rel. McAllum: “Even if these events do not rise to the level of a ‘substantial

disruption’ under Tinker (thus justifying the ban based on past actual disruption), they serve as a factual

basis for administrators’ forecast that disruptions might occur if students were allowed to display

racially charged symbols such as the Confederate flag.”253

          Third, schools were not required to directly link their disruption evidence to the activity being

regulated. A.M. ex rel. McAllum and West are good examples of this point. These cases involved

Confederate flag bans, yet some of the incidents of racial hostility cited by the schools did not involve

the Confederate flag.254 That did not stop the Fifth and Tenth Circuits from finding this evidence

relevant to a Tinker analysis.



250 Bell v. Itawamba Cnty. Sch. Bd., 799 F.3d 379, 397 (5th Cir. 2015) (quoting Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200,

211 (3d Cir. 2001)).
251 Id. (quotations omitted).
252 A.M. ex rel. McAllum v. Cash, 585 F.3d 214, 217 (5th Cir. 2009); Blackwell v. Issaquena Cnty. Bd. of Ed., 363 F.2d 749 (5th

Cir. 1966); Scott v. Sch. Bd. of Alachua Cnty., 324 F.3d 1246, 1247, 1249 (11th Cir. 2003); West v. Derby Unified Sch. Dist. No.
260, 206 F.3d 1358 (10th Cir. 2000). The Tinker Court based its analysis on Blackwell and a companion Fifth Circuit decision
issued that same day. See Tinker, 393 U.S. at 505 n.1, 513. Thus, it is irrelevant that Blackwell predated Tinker.
253 A.M. ex rel. McAllum, 585 F.3d at 222.
254 Id.; West, 206 F.3d at 1362.


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             Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 45 of 55



          Finally, schools can regulate speech that could inflame racial tensions even though some

students might view that speech innocently, or even admirably. The Confederate flag caselaw

highlights this. As the Fifth Circuit acknowledged, only “some” people view the Confederate flag “as

a symbol of racism and intolerance”; others might view it differently. 255 The Fifth Circuit still upheld

the school’s ban on the Confederate flag, despite these competing interpretations.

          The last point directly undercuts one of Plaintiffs’ key arguments. Plaintiffs classify their

desired chant of “from the river to the sea, Palestine will be free” as an innocent call “for peace and

dignity for all people.”256 But Plaintiffs’ interpretation of this phrase is irrelevant to a Tinker analysis.

What is relevant is that at least some people view the “from the river to the sea” statement as

antisemitism. This includes most Congressional members and the Anti-Defamation League, among

others.257 This is all that is needed under Tinker.258

          The Court should apply the same general principles from the above cases to the facts here.

Shown above, there was significant evidence that Plaintiffs’ Mid-2024 protests either did substantially

disrupt the University Defendants’ activities or, at the least, that they could reasonably lead to such

disruptions.259 Indeed, the Fifth Circuit and other courts have upheld school speech restrictions based

on weaker “disruption” evidence than that present here. This Court should find that had GA-44 been

applied to Plaintiffs’ Mid-2024 Protests, its application would have been constitutional under Tinker’s

“substantial disruption” prong.

          Plaintiffs admitted, on their social media accounts, that they intended to disrupt school

activity.260 That was the whole point of their mass protests: We will shut your schools down until you




255 A.M. ex rel. McAllum, 585 F.3d at 222; id. at 222 n.5.
256 ECF 20, ¶ 38; ECF 21, 6.
257 Supra, p. 5.
258 See, e.g., A.M. ex rel. McAllum, 585 F.3d at 222; id. at 222 n.5.
259 Supra, pp. 4–23.
260 Supra, pp. 11–20.


                                                                39
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 46 of 55



give into our demands. Plaintiffs now try to reclassify their protests as “peaceful” events.261 But that

characterization is belied by the stark difference in both messaging and actions between the Mid-2024

Protests (which involved encampment attempts, threats to administrators and police, and other

disruptive actions) that the University Defendants shut down, versus the other protests the campuses

saw both before and after those contested days, which were not shut down because they followed

campus rules and were not disruptive.

          Were this not enough, ample other evidence showed that Plaintiffs’ protests could be

substantially disruptive. Most notably, Plaintiffs’ protests were, in fact, disruptive. UT Austin had to

significantly adjust some classes due to these incidents.262 Many other schools shut down as well.263

The Fifth Circuit has found that incidents occurring at other schools can be relevant to a Tinker

analysis. For example, in Bell, the Court found that the school official’s speech restriction was justified

in part due to “examples of school violence” at other schools. 264 And in West, the Tenth Circuit upheld

a middle school’s ban on the Confederate flag largely due to the existence of racial tension at the high

school.265 Tinker’s deferential standard gives administrators ample leeway to respond to threats that

could feasibly shut down their schools.266

          Further, Plaintiffs’ protests were disruptive for various other reasons. For example, Plaintiffs

forcibly occupied certain university buildings.267 They set up blockades and encampments that


261 See ECF 20, ¶¶ 35–36, 90–91; ECF 21, 7, 9–10, 12, 15.
262 Declaration of Katie McGee, ¶ 45 (stating that the Dean of Students office received approximately 498 student requests for

class accommodations).
263 Supra, pp. 8–9, 21–23.
264 Bell, 799 F.3d at 399.
265 West, 206 F.3d at 1362.
266 See Tinker, 393 U.S. at 513 (“[C]onduct by the student, in class or out of it, which for any reason—whether it stems

from time, place, or type of behavior—materially disrupts classwork or involves substantial disorder or invasion of the rights
of others is, of course, not immunized by the constitutional guarantee of freedom of speech.”) (emphasis added); see also Healy, 408
U.S. at 189 (“Associational activities need not be tolerated where they infringe reasonable campus rules, interrupt classes,
or substantially interfere with the opportunity of other students to obtain an education.”); see also Jenkins v. Louisiana State
Bd. of Ed., 506 F.2d 992, 1003 (5th Cir. 1975) (finding that the First Amendment did not prevent a school from discipling
a group of students who went “about the campus shouting the chanting ‘organize,’ ‘unite,’ and ‘student power’” and who
“subjected the teaching and learning atmosphere of the college to disruption, distraction, and destruction”).
267 Supra, pp. 6–9.


                                                                40
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 47 of 55



interfered with others’ ability to reach key areas of the university or that otherwise created fire

hazards.268 Plaintiffs’ stockpiled weapons during some of these protests, adding to the threat of

violence during these tense events.269 And so on.

          Finally, many other schools outside of Texas limited Plaintiffs’ protests in largely the same

manner as the University Defendants. The fact that many other officials had similar responses to

similar protests highlights the reasonableness of the University Defendants’ conduct under the

deferential Tinker standard.270

          In short, Defendants have evidence that Plaintiffs’ protests were, or reasonably could be,

substantially disruptive. Because Defendants’ conduct was lawful under Tinker’s “substantial

disruption” prong, the Court should thus conclude that Plaintiffs will not prevail on the merits.

          2.         A Facial Challenge is a High Bar; Plaintiffs do not Meet it Here.

          “[F]acial challenges [are] hard to win.”271 A facial challenge in the First Amendment context

turns on whether “a substantial number of the law’s applications are unconstitutional, judged in

relation to the statute’s plainly legitimate sweep.”272 Put differently, a law is facially invalid “only if [its]

unconstitutional applications substantially outweigh its constitutional ones.”273

          Plaintiffs claim that GA-44 will operate in practice as a content-based regulation of speech.274

They also say “there is no ambiguity in GA-44’s text,”275 but can point to no language in the executive

order where Governor Abbott tells Texas public universities how to address antisemitism. Indeed,

Plaintiffs also ignore the fact that GA-44 sets no specific requirements on precisely how Texas public




268 See, e.g., Declaration of Shane Streepy, ¶ 17; Declaration of Adam Perry, ¶¶ 8–10.
269 Declaration of Shane Streepy, ¶¶ 39–41.
270 See Bell, 799 F.3d at 397–98.
271 Moody v. NetChoice, LLC, 144 S.Ct. 2383, 2397 (2024).
272 Id. (cleaned up).
273 Id.
274 Dkt. 1, ¶ 74.
275 ECF 21, p. 6.


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            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 48 of 55



universities will address antisemitism on campus. Such facial uncertainty is reason alone to reject

Plaintiffs’ facial challenge.276

          Even so, there are at least five sets of constitutional applications of GA-44 that outweigh the

singular, interpretation that Plaintiffs’ provide the Court to support their request for facial invalidation.

          First, universities could apply GA-44 to ensure that their pre-existing policies are evenly

enforced. Under Plaintiffs’ theory of the case, it is hard to see how GA-44 is unconstitutional if the

University Defendants treated anti-Jewish protestors in the same manner as anti-Palestinian (or any

other) protests.

          Second, along the same lines, universities could apply GA-44 by ensuring that their content-

neutral “anti-disruption” policies are properly enforced.277 Plaintiffs do not contend that these policies

violate the First Amendment.

          Third, “advocacy that is directed to inciting or producing imminent lawless action and is likely

to incite or produce such action is not protected by the First Amendment.”278 Universities could

constitutionally apply GA-44 to restrict speech falling within this category.

          Fourth, shown below in assessing Plaintiffs’ as-applied challenge, Tinker allows schools to

regulate speech, including discriminatory speech, that is reasonably forecasted to create a substantial

disruption.279 Universities could constitutionally apply GA-44 to restrict speech falling within this

category.

          Fifth, Tinker also allows schools to regulate speech that is reasonably forecasted to invade the

rights of others, and universities could constitutionally apply GA-44 to restrict antisemitism on

campus where that antisemitism is severe and pervasive such that it creates an objectively hostile


276 See, e.g., Sabri v. United States, 541 U.S. 600, 608–10 (2004); Tennessee v. Lane, 541 U.S. 509, 530–34 (2004); United States v.

Raines, 362 U.S. 17, 24–25 (1960).
277 UT Austin Institutional Rules, §§ 6-404(18), 11-402(15), 13-206, 13-301; UTD HOP, §§ UTDSP5001(C.10),

UTDSP5003(C.9.14) & (C.9.18); UTSA HOP, § 9.36(III.A); UH MAPP, §§ 01.D.15(3.4) & (4.1).
278 Bailey v. Iles, 87 F.4th 275, 283 (5th Cir. 2023) (quotations and brackets omitted).
279 Supra, pp. 37–41.


                                                                42
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 49 of 55



environment for Jewish students under Tinker’s “rights of others” prong.280 This prong is less

established than Tinker’s “substantial disruption” prong, yet most federal circuits to consider the issue

have found that Tinker’s “rights of others” prong281 can independently justify a school’s speech

restriction—meaning, without any showing that the expression would substantially disrupt the

school’s activities.282 The Fifth Circuit appears sided with the majority, at least in dicta.283

          In Defendants’ motion to dismiss, they briefed how they propose the Court should analyze

this prong based on two competing principles that govern a school’s ability to restrict discriminatory

speech.284 On one hand, every student has a right “to be secure and to be let alone.”285 Invidious

discrimination not only invades this right, but it can also lead to severe negative consequences for the

students being harassed.286 On the other hand, a bedrock principle of the First Amendment is that

“the government may not prohibit the expression of an idea simply because society finds the idea

itself offensive or disagreeable.”287 Defendants recommend that the Court balance these principles by

placing a “severe and pervasive” limit on a school’s ability to restrict discriminatory speech, as the




280 See, e.g., UT Austin Institutional Rules, § 13–204(b) (restricting “harassing” speech that is (1) “sufficiently severe, pervasive,

and objectively offensive to create an objectively hostile or threatening environment that interferes with or diminishes the
victim’s ability to participate in or benefit from the services, activities, or privileges provided by the University” and (2)
“personally describes or is personally directed to one or more specific individuals”).
281 Tinker, 393 U.S. at 513 (“[C]onduct by the student, . . . which for any reason—whether it stems from time, place, or

type of behavior—materially disrupts classwork or involves substantial disorder or invasion of the rights of others is, of course, not
immunized by the constitutional guarantee of freedom of speech.”) (emphasis added) (citing Blackwell, supra, note 252).
282 Doe v. Valencia Coll., 903 F.3d 1220, 1229–31 (11th Cir. 2018); C.R. v. Eugene Sch. Dist. 4J, 835 F.3d 1142, 1152–53 (9th

Cir. 2016); Kuhlmeier v. Hazelwood Sch. Dist., 795 F.2d 1368, 1371 (8th Cir. 1986), rev'd on other grounds, 484 U.S. 260 (1988);
Trachtman v. Anker, 563 F.2d 512, 516–20 (2d Cir. 1977). But see L.M. v. Town of Middleborough, Massachusetts, 103 F.4th 854,
873–74 (1st Cir. 2024).
283 Brinsdon v. McAllen Indep. Sch. Dist., 863 F.3d 338, 351–52 (5th Cir. 2017) (citing Tinker’s “rights of other” language to

justify a school’s speech restriction, without performing a “substantial disruption” analysis); Bell, 799 F.3d at 397 (noting
that “[a]rguably, a student’s threatening, harassing, and intimidating a teacher inherently portends a substantial disruption,
making feasible a per se rule in that regard,” which is another way of saying there are some instances where a court may not
need to perform a full “substantial disruption” analysis); Shamloo, 620 F.2d at 522 (finding that the lower court erred in its
Tinker analysis as the court did not find that the students’ conduct “involved substantial disorder or invasion of the rights of
others”) (emphasis added).
284
285 Tinker, 393 U.S. at 508.
286 See, e.g., Harper v. Poway Unified Sch. Dist., 445 F.3d 1166, 1178–79 (9th Cir. 2006) (discussing the negative effects of anti-

gay discrimination), cert. granted, judgment vacated sub nom. Harper ex rel. Harper v. Poway Unified Sch. Dist., 549 U.S. 1262 (2007).
287 Texas v. Johnson, 491 U.S. 397, 414 (1989).


                                                                 43
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 50 of 55



Third Circuit did in Saxe v. State Coll. Area Sch. Dist.288 and DeJohn v. Temple Univ.289 Tethering a school’s

ability to restrict discriminatory speech that reasonably could be “severe and pervasive” makes sense

for three reasons.

          First, these guideposts limit a school’s power to regulate discriminatory speech to the more

pressing situations calling for such an intrusion. Thus, this restriction tracks Tinker’s statement that

schools cannot restrict speech merely “to avoid the discomfort and unpleasantness that always

accompany an unpopular viewpoint.”290

          Second, a “severe and pervasive” requirement can be easily understood by schools and courts.

There is significant caselaw guiding how to analyze harassment in the Title VI and Title VII contexts.291

This precedent would guide future First Amendment analyses on schools’ speech restrictions.

          Finally, an overly strict standard would leave schools unable to avoid potential Title VI

lawsuits. Under Title VI, schools can be liable for student-on-student harassment if, among other

things, “the harassment was “so severe, pervasive, and objectively offensive that it can be said to

deprive the victims of access to educational opportunities or benefits provided by the school.”292 An

overly strict First Amendment standard in this context leaves universities in an impossible situation.

Do they correct severe and pervasive discrimination and risk a § 1983 lawsuit for a First Amendment

violation? Or do they disregard the discrimination and risk liability under Title VI? Defendants’

proposed rule avoids this Sophie’s choice. And the Eighth Circuit found similar reasoning persuasive

when it held that Tinker’s “rights of others” prong allows schools to regulate “speech [that] could

result in tort liability for the school.”293



288 Saxe, 240 F.3d at 217.
289 537 F.3d 301, 314–20 (3d Cir. 2008).
290 Tinker, 393 U.S. at 509.
291 See, e.g., Wallace v. Performance Contractors, Inc., 57 F.4th 209, 222–23 (5th Cir. 2023); Fennell v. Marion Indep. Sch. Dist., 804

F.3d 398, 408–10 (5th Cir. 2015).
292 Fennell, 804 F.3d at 408.
293 Kuhlmeier, 795 F.2d at 1376, rev’d, 484 U.S. 260 (1988).


                                                                 44
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 51 of 55



          Putting these points together, the “rights of others” analysis should turn on whether the

University Defendants could reasonably have forecasted that Plaintiffs’ Mid-2024 Protests might

create a severe and pervasive discriminatory environment for Jewish students. The factual record

shows that they could.

          To this end, antisemitism was starting to overwhelm colleges across the nation around the

time of Plaintiffs’ Mid-2024 Protests. Jewish students faced brutal antisemitic attacks at other

universities, and those schools responded to reports that Jewish students were physically assaulted;

and reports that Jewish students were called horrific slurs.294 Many of these horrible events occurred

at, or were otherwise connected with, SJP protests.295 Defendants could try to stop this antisemitic

tsunami by regulating expression through application of a content- or viewpoint-based rule without

violating the First Amendment.

          Defendants cited dozens, if not hundreds, of instances of antisemitism following October 7—

many featuring the worst racial epithets imaginable and horrific acts of violence.296 A significant

portion of these instances related directly to SJP protests.297 At the least, Plaintiffs’ protests would only

further inflame the antisemitism that had engulfed college campuses around this time. These protests

could easily rise to the level of creating a severe and pervasive environment for Jewish students.

          Perhaps the best evidence of this is the fact that numerous universities have been sued under

Title VI because they did not timely and responsibly stop the antisemitism that flared up following

October 7.298 Tinker gives the University Defendants more than enough leeway to protect themselves

and their students in this situation. This Court should find that GA-44, as applied to Plaintiffs’ Mid-



294 Supra, pp. 5–7.
295 Supra, pp. 5–9,
296  Supra, pp. 5–7; see also Audit of Antisemitic Incidents 2023, ANTI-DEFAMATION LEAGUE (Apr. 16, 2024),
https://tinyurl.com/mpj7b4yc; see also Hannah Robinowitz, FBI director: Antisemitism reaching ‘historic level’ in US, CNN (Oct.
31, 2023), https://www.cnn.com/2023/10/31/politics/fbi-director-antisemitism-wray/index.html.
297 Supra, pp. 4–9.
298 Governor Abbott Fights Antisemitic Acts At Texas Colleges, Universities, supra note 66.


                                                             45
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 52 of 55



2024 Protests, was lawful under Tinker’s “rights of others” prong.

          In sum, there are numerous, obvious constitutional applications of GA-44. At the least, these

applications are not substantially outweighed by any perceived unconstitutional applications of this

order. After all, “[w]here the government does not target conduct on the basis of its expressive

content, acts are not shielded from regulation merely because they express a discriminatory idea or

philosophy.”299 The Supreme Court has repeatedly applied these principles in rejecting First

Amendment challenges to anti-discrimination statutes.300 Plaintiffs’ facial challenge to GA-44 fails.

III.      The Other Preliminary Injunction Factors Favor Denying the Motion.

          Because Plaintiffs rely, as they must, on their likelihood of success in proving a First

Amendment violation to also satisfy the remaining prongs of the preliminary injunction standard,301

they did not offer separate arguments relating to the other prongs, and their failure to satisfy the first

prong is thus fatal to their motion. Moreover, without a strong showing on the merits of their First

Amendment claim, it becomes clear that the Plaintiffs have not shown irreparable harm or that the

public interest would favor granting the injunction. In short, among other problems, the lack of a

causal link between the complained-of GA-44 and actions taken by the University Defendants shows

that GA-44 has not caused irreparable harm to the Plaintiffs.302 And the public interest is served when

universities are permitted to apply their content-neutral time, place, and manner restrictions that allow

campuses to operate safely.303




299 R.A.V. v. City of St. Paul, 505 U.S. 377, 390 (1992).
300 See, e.g., Wisconsin v. Mitchell, 508 U.S. 476, 487 (1993); Hishon v. King & Spalding, 467 U.S. 69, 78 (1984) (rejecting the
argument “that application of Title VII ... would infringe constitutional rights of expression” because “invidious private
discrimination ... has never been accorded affirmative constitutional protections” (alteration adopted) (internal quotation
marks omitted)); Runyon v. McCrary, 427 U.S. 160, 176 (1976) (explaining that although “parents have a First Amendment
right to send their children to educational institutions that promote the belief that racial segregation is desirable, ... it does
not follow that the practice of excluding racial minorities from such institutions is also protected”).
301 Elrod, 427 U.S. at 373.
302 Supra, pp. 35–36.
303 Declaration of Katie McGee, ¶ 60.


                                                               46
            Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 53 of 55



IV.       The Court Should Not Enjoin Enforcement of Constitutional Applications of GA-44.

          Plaintiffs are unlikely to prevail on the merits of any of their challenges. However, if the Court

holds otherwise on a challenge to any distinct provision of GA-44, then the Court should craft a

narrow remedy and sever only the particular applications of the particular clause the Court finds is

constitutionally invalid rather than preliminarily enjoining the order and all its applications.

          “It is axiomatic that ‘a statute may be invalid as applied to one state of facts and yet valid as

applied to another.’”304 “[W]hen confronting a constitutional flaw in a statute,” this Court should “try

to limit the solution to the problem.”305 It is preferable for courts “to enjoin only the unconstitutional

applications of a statute while leaving other applications in force,” or “sever its problematic portions

while leaving the remainder intact.”306 The severability doctrine thus instructs that “[u]nless it is evident

that the Legislature would not have enacted those provisions which are within its power,

independently of that which is not, the invalid part may be dropped if what is left is fully operative as

a law.”307 The focus is on “whether the statute will function in a manner consistent with the

[Legislature’s intent].”308

          Here, GA-44 contains three operative clauses, each of which can function independent of the

others. For instance, universities can:

               (1) review and update their policies to address antisemitic speech without including GA-
                   44’s definition of antisemitism;
               (2) ensure their pre-existing polices are enforced against PSC and SJP for code violations
                   without updating their policies to specifically address antisemitism; and
               (3) update their policies to include GA-44’s definition of antisemitism without ensuring
                   that they are enforced them against any specific group.

Put simply, each of GA-44’s three operative clauses independently fulfills the order’s core mission: to


304 Ayotte v. Planned Parenthood of Northern New England, 546 U.S. 320, 329 (2006) (citing Dahnke-Walker Milling Co. v. Bondurant,

257 U.S. 282, 289 (1921)).
305 Id. at 328.
306 Id. at 329 (citing Raines, 362 U.S. at 20–22, and United States v. Booker, 543 U.S. 220, 227–29 (2005)).
307 Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 684 (1987) (quotations omitted).
308 Id. at 685.


                                                               47
         Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 54 of 55



protect universities from disruption and their students from harassment following October 7. Thus,

the invalidation of one of GA-44’s provisions should not lead this Court to enjoin the entire order.

                                            CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ motion for a preliminary

injunction. But if the Court disagrees with Defendants’ arguments, then Defendants ask in the

alternative that the Court stay all district court proceedings pending resolution of an appeal.

 Date: August 19, 2024                               Respectfully submitted.
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                                                   48
        Case 1:24-cv-00523-RP Document 32 Filed 08/19/24 Page 55 of 55



                                  CERTIFICATE OF SERVICE

       I certify that a copy of the document above was served on all counsel of record who have

entered an appearance on August 19, 2024, using the Federal Court CM/ECF system.

                                               /s/ Cole P. Wilson




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